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                                                         EXECUTION VERSION


                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:14-cv-03074-CMA

   JOHANA PAOLA BELTRAN,
   LUSAPHO HLATSHANENI,
   BEAUDETTE DEETLEFS,
   ALEXANDRA IVETTE GONZALEZ,
   JULIANE HARNING,
   NICOLE MAPLEDORAM,
   LAURA MEJIA JIMENEZ,
   SARAH CAROLINA AZUELA RASCON,
   CATHY CARAMELO,
   LINDA ELIZABETH,
   GABRIELA PEREZ REYES,
              and those similarly situated,

                Plaintiffs,

   v.

   INTEREXCHANGE, INC.,
   USAUPAIR, INC.,
   GREATAUPAIR, LLC,
   EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR,
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
   CULTURAL HOMESTAY INTERNATIONAL,
   CULTURAL CARE, INC. DBA CULTURAL CARE AU PAIR,
   AUPAIRCARE INC.,
   AU PAIR INTERNATIONAL, INC.,
   APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION,
   AMERICAN INSTITUTE FOR FOREIGN STUDY, INC. DBA AU PAIR IN AMERICA,
   ASSOCIATES IN CULTURAL EXCHANGE DBA GO AU PAIR,
   AMERICAN CULTURAL EXCHANGE, LLC, DBA GO AU PAIR,
   GO AU PAIR OPERATIONS, LLC, DBA GO AU PAIR,
   AGENT AU PAIR,
   A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR, and
   20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

              Defendants.
   ______________________________________________________________________

                   STIPULATION AND AGREEMENT OF SETTLEMENT
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          This Stipulation and Agreement of Settlement, dated as of 3 January 2019 (the

   “Agreement,” or “Settlement”), is made and entered into by and among (i) the Plaintiffs, 1

   on behalf of themselves and each Settlement Class Member, by and through their

   undersigned counsel, and (ii) the Defendants, by and through their undersigned

   representatives; and is submitted pursuant to Rule 23 of the Federal Rules of Civil

   Procedure.

          The Settlement is intended by the Parties to fully, finally, and forever

   compromise, settle, release, resolve, discharge, and dismiss with prejudice this

   Litigation (i.e., the above-captioned action, 1:14-cv-03074-CMA, pending in the U.S.

   District Court for the District of Colorado), and all Released Claims as against all

   Released Parties, subject to the terms and conditions stated in this Agreement and

   Final approval of the Court.

          WHEREAS:

          A.     On November 13, 2014, Plaintiff Johana Paola Beltran (“Beltran”)

   commenced this action (the “Litigation”) by filing a putative class action complaint

   against Pamela H. Noonan; Thomas J. Noonan; InterExchange, Inc. (“InterExchange”);

   USAuPair, Inc. (“USAuPair”); GreatAuPair, LLC (“GreatAuPair”); Expert Group

   International Inc., d/b/a Expert AuPair (“Expert AuPair”); EurAuPair Intercultural Child

   Care Programs (“EurAuPair”); Cultural Homestay International (“Cultural Homestay”);

   Cultural Care, Inc., d/b/a Cultural Care Au Pair (“Cultural Care”); AuPairCare Inc.

   (“AuPairCare”); Au Pair International, Inc. (“API”); APF Global Exchange, NFP, d/b/a

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    All terms with initial capitalization used in this Agreement, and in any exhibits attached
   hereto and made a part hereof, shall have the meanings ascribed to them in
   Paragraph 1 below or as otherwise defined herein, except that any term with initial
   capitalization only defined in an exhibit shall have the meaning provided in that exhibit.


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   Au Pair Foundation (“APF”); American Institute for Foreign Study, Inc., d/b/a Au Pair in

   America (“AIFS”); Go Au Pair Operations, LLC; American Cultural Exchange, LLC,

   d/b/a Go Au Pair (together with Go Au Pair Operations, LLC, “Go Au Pair”); Agent Au

   Pair, Inc. (“Agent Au Pair”); A.P.EX. American Professional Exchange, LLC d/b/a

   ProAuPair (“ProAuPair”); and 20/20 Care Exchange, Inc., d/b/a The International Au

   Pair Exchange (“TIAPE,” and, together with InterExchange, USAuPair, GreatAuPair,

   Expert Au Pair, EurAuPair, Cultural Homestay, Cultural Care, AuPairCare, API, APF,

   AIFS, Go Au Pair, Agent Au Pair, and ProAuPair, the “Defendants”) in the United

   States District Court for the District of Colorado (the “Court”). The complaint asserted,

   inter alia, violation of the Sherman Act, 15 U.S.C. § 1, et seq. (the “Sherman Act”);

   failure to pay federal minimum wage in violation of the Fair Labor Standards Act, 29

   U.S.C. § 201, et seq. (the “FLSA”); failure to pay wages under the laws of several

   states; breach of fiduciary duty; violations of the New York Wage Act; and failure to pay

   wages under the laws of Colorado.

         B.     On March 13, 2015, Beltran and additional Plaintiffs Lusapho Hlatshaneni

   (“Hlatshaneni”), Beaudette Deetlefs (“Deetlefs”), Dayanna Paola Cardenas Caicedo

   (“Caicedo”), and Alexandra Ivette Gonzalez (“Gonzalez”) filed a first amended class

   complaint, asserting class claims under the Sherman Act against the Defendants and

   under the FLSA against InterExchange, Cultural Care, AIFS, and Go Au Pair; asserting

   an individual claim for unpaid wages under the laws of Colorado by Beltran against

   Pamela H. Noonan and Thomas J. Noonan; and adding putative class claims for: civil

   RICO, 18 U.S.C. § 1964(c) (“RICO”) against InterExchange, Cultural Care, and AIFS;

   and breach of fiduciary duty, negligent misrepresentation, constructive fraud or




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   fraudulent concealment, violations of consumer protection statutes, breach of contract

   and quasi-contract, and unpaid wages under the laws of several states and the District

   of Columbia against InterExchange, Cultural Care, AIFS, and Go Au Pair; and violations

   of the New York Wage Act against InterExchange, Cultural Care, AIFS, and Go Au Pair.

           C.    The First Amended Complaint and subsequent amended complaints filed

   in the Litigation allege, among other things, that the Defendants colluded to pay au pairs

   residing in the United States pursuant to a J-1 visa fixed wages below federal and state

   minimum wages and did in fact cause au pairs to be paid wages below federal and state

   minimum wages.

           D.    The First Amended Complaint added Associates in Cultural Exchange,

   d/b/a GoAuPair as an additional defendant, which was then voluntarily dismissed from

   the Litigation pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) on March 23, 2015.

           E.    Defendants Pamela H. Noonan and Thomas J. Noonan were voluntarily

   dismissed from the Litigation on April 3, 2015 pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

           F.    The Defendants moved to dismiss the remaining claims on April 17, 2015.

   The motions to dismiss were fully briefed as of August 10, 2015.

           G.    On February 22, 2016, Magistrate Judge Kathleen M. Tafoya issued a

   recommendation to grant in part and deny in part the Defendants’ motions to dismiss.

   The decision recommended dismissal of Plaintiffs’ claims for breach of contract and

   quasi-contract and for unpaid wages under the Utah Minimum Wage Act, and otherwise

   recommended denial of Defendants’ motions to dismiss. Defendants lodged objections

   to the recommendation on March 14, 2016, to which Plaintiffs responded on March 28,

   2016.




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          H.     On March 31, 2016, the Court issued an order adopting and affirming in

   part the recommendation. The Court dismissed Plaintiffs’ claims for breach of contract

   and quasi-contract and for unpaid wages under the Utah Minimum Wage Act, and

   otherwise denied Defendants’ motions to dismiss.

          I.     On July 25, 2016, Plaintiffs Beltran, Deetlefs, Hlatshaneni, Gonzalez, and

   Caicedo moved for conditional collective action certification with respect to FLSA claims

   against InterExchange, Cultural Care, AIFS, and Go Au Pair. On August 15, 2016,

   Plaintiffs filed a motion for conditional collective action certification with respect to FLSA

   claims against AuPairCare and Expert Au Pair on behalf of Laura Mejia Jimenez

   (“Jimenez”), Juliane Harning (“Harning”), and Nicole Mapledoram (“Mapledoram”).

          J.     Jimenez, Harning, and Mapledoram were identified as putative additional

   plaintiffs in Plaintiffs’ motion to file a second amended complaint filed on August 15,

   2016. That motion was granted on October 17, 2016.

          K.     On October 17, 2016, Plaintiffs Beltran, Hlatshaneni, Deetlefs, Caicedo,

   Gonzalez, Rascon, Jimenez, Harning, and Mapledoram filed a second amended class

   complaint, asserting putative class claims: under the Sherman Act against the

   Defendants; under RICO against AIFS, AuPairCare, Cultural Care, and InterExchange

   (together, the “RICO Defendants”); for breach of fiduciary duty, negligent

   misrepresentation, constructive fraud or fraudulent concealment, violations of consumer

   protection statutes, and unpaid wages under the laws of the several states and the

   District of Columbia against AIFS, AuPairCare, Cultural Care, Expert AuPair, Go Au

   Pair, and InterExchange (together, the “State Claim Defendants”); under the FLSA

   against AIFS, AuPairCare, Cultural Care, Expert AuPair, Go Au Pair, and




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   InterExchange (together, the “FLSA Defendants”); for unpaid wages under the New

   York Wage Act against AIFS, Cultural Care, Go Au Pair, and InterExchange (together,

   the “New York Wage Defendants”); and for unpaid wages under the New Jersey Wage

   Act against AuPairCare.

          L.     On November 14, 2016, Plaintiff Caicedo was voluntarily dismissed from

   the Litigation without prejudice.

          M.     On March 31, 2017, the Court granted Plaintiffs’ motions for conditional

   collective action certification. The order was subsequently amended by the Court on

   April 28, 2017 and June 9, 2017.

          N.     On June 3, 2017, Plaintiffs filed a motion to certify classes and to appoint

   class counsel pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3); and filed a motion for

   leave to file a Third Amended Complaint.

          O.     On February 2, 2018, the Court granted in part and denied in part

   Plaintiffs’ motion to appoint class counsel and for certification of classes pursuant to

   Fed. R. Civ. P. 23(b)(2) and 23(b)(3).

          P.     On February 16, 2018, the Parties filed motions for summary judgment.

          Q.     On April 9, 2018, the Court granted in part and denied in part Plaintiffs’

   motion for leave to file a Third Amended Complaint.

          R.     On April 11, 2018, Plaintiffs Beltran, Hlatshaneni, Deetlefs, Caicedo,

   Gonzalez, Rascon, Jimenez, Harning, and Mapledoram filed a third amended class

   complaint, asserting the same set of claims as the second amended complaint and

   adding Cathy Caramelo, Linda Elizabeth, and Camila Gabriela Perez Reyes as

   additional named Plaintiffs.




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         S.      On April 19, 2018, the time period to opt into the FLSA classes and

   subclasses ended. On April 20, 2018, Plaintiffs filed a notice indicating that 4,283

   individuals delivered consent forms to join the FLSA classes and subclasses. Plaintiffs

   filed a subsequent notice on July 20, 2018, indicating that one individual had elected to

   withdraw her consent to join.

         T.      On May 9, 2018, the FLSA Defendants each moved to decertify their

   respective conditionally certified FLSA classes and subclasses.

         U.      On June 19, 2018, the Court denied the parties’ cross motions for

   summary judgment.

         V.      On July 17, 2018, Plaintiffs moved for reconsideration of the Court’s order

   denying Plaintiffs’ motion for partial summary judgment. The Court granted Plaintiffs’

   motion on August 6, 2018, dismissing Defendants’ defenses based on federal

   preemption.

         W.      On August 8, 2018, certain Defendants moved for reconsideration of the

   Court’s August 6, 2018 order dismissing their preemption defense. Defendants filed a

   supplemental reply brief in support of reconsideration on September 27, 2018, attaching

   an amicus brief filed by the United States Department of Justice in a separate action

   that also addressed preemption.

         X.      On August 15, 2018, the Court referred the parties to Magistrate Judge

   Michael E. Hegarty for a settlement conference.

         Y.      On October 17, 2018, certain Defendants moved for reconsideration of the

   Court’s June 19, 2018 order denying all Parties’ motions for summary judgment.




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          Z.     The Parties appeared before Magistrate Judge Hegarty for mediation on

   October 17, 2018. The Parties did not resolve their claims but continued negotiations

   over the next five weeks through Magistrate Judge Hegarty.

          AA.    On November 13, 2018, the Parties filed briefs concerning the application

   of tolling doctrines to the statutes of limitations pertaining to Plaintiffs’ claims at the

   instruction of the Court. On November 20, 2018, the Court issued an order finding that

   equitable tolling would not apply to Plaintiffs’ claims.

          BB.    On November 20, 2018, after additional extensive arm’s-length

   negotiations and exchange of multiple proposals, Plaintiffs and Defendants reached an

   agreement in principle to settle the Litigation, which was memorialized in a Term Sheet

   executed by the parties. The Court subsequently vacated all pre-trial dates, excepting

   the Final Pretrial Conference and Trial Date, pending the submission of a settlement

   agreement.

          CC.    At the time the Term Sheet was signed, the FLSA Defendants’ motions for

   decertification of the FLSA classes and subclasses and certain Defendants’ motions for

   reconsideration of the Court’s order denying their motions for summary judgment and of

   the Court’s order dismissing their defenses based on preemption remained pending.

          DD.    Defendants have denied and continue to deny any fault, liability, or

   wrongdoing of any kind and dispute that the evidence developed supports in any way

   the claims asserted. Defendants also have denied and continue to deny each and all of

   the claims and contentions alleged by Plaintiffs. Defendants further have denied and

   continue to deny that Plaintiffs or any Settlement Class Members were harmed or

   suffered any loss as a result of any of the conduct alleged in the Litigation. Defendants




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   are entering into the Settlement to eliminate the burden, expense, inconvenience,

   uncertainty, distraction, and risk of further litigation; in light of the length of continued

   proceedings necessary to defend the Litigation through trial and any appeals; and to

   avoid continued litigation. Defendants therefore believe that it is desirable that the

   Litigation and any other current or future potential actions brought by Settlement Class

   Members that relate in any way to the allegations raised by the Plaintiffs be settled upon

   the terms and conditions set forth herein, in order to avoid the further expense and

   burden of protracted litigation.

          NOW THEREFORE, without any admission or concession on the part of

   Defendants of any liability or wrongdoing or lack of merit of their defenses in the

   Litigation, it is hereby stipulated and agreed, by and among the Parties, through their

   respective attorneys and representatives, subject to approval of the Court pursuant to

   Rule 23(e) of the Federal Rules of Civil Procedure and other conditions set forth herein,

   in consideration of the benefits flowing to the Parties from the Settlement, that the

   Litigation, and all Released Claims shall be fully, finally, and forever compromised,

   settled, released, resolved, discharged, and dismissed with prejudice against the

   Released Parties, upon and subject to the following terms and conditions:

   I.     Definitions

          1.     As used in this Agreement, the following terms shall have the following

   meanings:

                 a.      “Alternative Judgment” means a form of final judgment that may be

          entered by the Court in a form other than the form of the Order and Final

          Judgment provided for in this Agreement, and which is acceptable to all Parties.




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               b.     “Claim” has the meaning set forth in Paragraph 3. For the

        avoidance of doubt, “Claims” shall include, but are not limited to, any and all

        causes of action, liabilities and demands of whatever kind or character for

        minimum wage, overtime, penalties, expenses, or other compensation (including

        but not limited to Claims under the Fair Labor Standards Act; state and local

        wage and hour laws; the Sherman Act, 15 U.S.C. §1, et seq.; civil RICO, 18

        U.S.C. §1964(c); breach of fiduciary duty; negligent misrepresentation;

        constructive fraud or fraudulent concealment; and/or violations of consumer

        protection statues).

               c.     “Claims Administrator” means the firm retained by Plaintiffs’

        Counsel on behalf of the Settlement Class and acceptable to the Defendants,

        subject to approval of the Court, to provide all notices approved by the Court to

        Settlement Class Members and to administer the Settlement.

               d.     “Court” means the court or courts with jurisdiction over the above-

        captioned action, number 14-CV-03074-CMA pending in the U.S. District Court

        for the District of Colorado.

               e.     “Defendants” means each Defendant named in the Third Amended

        Complaint (ECF No. 983).

               f.     “Class Settlement Amount” means Sixty-Five Million and Five

        Hundred Thousand United States Dollars ($65,500,000.00), paid by or on behalf

        of the Defendants in connection with this Agreement.

               g.     “Defendants’ Counsel” means, with respect to each Defendant as

        indicated below, the law firms or lawyers:




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                       i.          Agent Au Pair, API, and Go Au Pair: Wheeler Trigg

               O’Donnell LLP.

                      ii.          AIFS: Ogletree, Deakins, Nash, Smoak & Stewart, P.C., and

               Gibson, Dunn & Crutcher LLP.

                     iii.          APF: Fisher & Phillips, LLP.

                     iv.           AuPairCare: Gordon & Rees LLP.

                      v.           Cultural Care: Choate, Hall & Stewart LLP and Lewis Roca

               Rothgerber Christie LLP.

                     vi.           Cultural Homestay: Holland & Hart LLP.

                    vii.           EurAuPair: Brownstein Hyatt Farber Schreck, LLP.

                    viii.          Expert AuPair: Bogdan Enica, Esq.

                     ix.           GreatAuPair: Armstrong Teasdale LLP.

                      x.           InterExchange: Sherman & Howard L.L.C.

                     xi.           ProAuPair and TIAPE: Nixon Shefrin Hensen Ogburn, P.C.

                    xii.           USAuPair: Kelly & Walker LLC.

               h.           “Effective Date” means the first date when all of the conditions set

        forth below in Paragraph 34 below have occurred.

               i.           “Final,” with respect to a court order, means the later of: (i) if there

        is an appeal from a court order, the date of final affirmance on appeal and the

        expiration of the time for any further judicial review whether by appeal,

        reconsideration or a petition for a writ of certiorari and, if certiorari is granted, the

        date of final affirmance of the order following review pursuant to the grant; or (ii)

        the date of final dismissal of any appeal from the order or the final dismissal of




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        any proceeding on certiorari to review the order; or (iii) the expiration of the time

        for the filing or noticing of any appeal or petition for certiorari from the order (or, if

        the date for taking an appeal or seeking review of the order shall be extended

        beyond this time by order of the issuing court, by operation of law or otherwise,

        or if such extension is requested, the date of expiration of any extension if any

        appeal or review is not sought).

               j.      “Final Approval Hearing” or “Fairness Hearing” means the hearing

        set by the Court under Rule 23(e) of the Federal Rules of Civil Procedure to

        consider final approval of the Settlement.

               k.      “Litigation” means the above-captioned action, 1:14-cv-03074-

        CMA, pending in the U.S. District Court for the District of Colorado.

               l.      “Litigation Expenses” means the reasonable costs and expenses

        incurred by counsel for Plaintiffs in connection with commencing and prosecuting

        the Litigation for which Plaintiffs’ counsel intend to apply to the Court for payment

        from the QSF.

               m.      “Notice” means the Notice of Proposed Settlement of Class and

        Collective Action, Fairness Hearing, and Right to Appear (substantially in the

        form attached hereto as Exhibit A), which is to be sent to Settlement Class

        Members.

               n.      “Notice and Administration Expenses” means the costs, fees, and

        expenses that are incurred in connection with providing notice to the Settlement

        Class, in connection with the QSF, in connection with administering the




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        Settlement, and in providing notice pursuant to the Class Action Fairness Act

        of 2005, 28 U.S.C. § 1715.

               o.     “Order and Final Judgment” or “Judgment” means the order of final

        judgment to be entered in the Action, substantially in the form annexed hereto as

        Exhibit C.

               p.     “Parties” means (i) Plaintiffs on behalf of themselves and each

        Settlement Class Member and (ii) the Defendants.

               q.     “Person” means any individual, corporation (including all divisions

        and subsidiaries), general or limited partnership, association, joint stock

        company, joint venture, limited liability company, professional corporation, estate,

        legal representative, trust, unincorporated association, government or any

        political subdivision or agency thereof, or any other business or legal entity, as

        well as each of their spouses, domestic partners, heirs, predecessors,

        successors, representatives, agents, trustees, estates, administrators, executors,

        or assigns.

               r.     “Plaintiffs” means Johana Paola Beltran, Lusapho Hlatshaneni,

        Beaudette Deetlefs, Alexandra Ivette Gonzalez, Sarah Carolina Azuela Rascon,

        Laura Mejia Jimenez, Juliane Harning, Nicole Mapledoram, Cathy Caramelo,

        Linda Elizabeth, and Camila Gabriela Perez Reyes.

               s.     “Plaintiffs’ Counsel” or “Class Counsel” means Boies Schiller

        Flexner LLP and Towards Justice.




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               t.     “Plan of Allocation” means the proposed plan for allocating funds

        from the QSF to Settlement Class Members, which, subject to approval of the

        Court, shall be substantially in the form described in the Notice.

               u.     “Preliminary Approval Order” means the order (substantially in the

        form annexed hereto as Exhibit B) to be entered by the Court, preliminarily

        approving the Settlement, approving dissemination of the Notice, and scheduling

        the Final Approval Hearing.

               v.     “Qualified Settlement Fund” or “QSF” has the meaning set forth in

        Paragraph 13.

               w.     “Released Claims” means all claims released pursuant to

        Section III below.

               x.     “Released Parties” has the meaning set forth in Paragraph 4.

               y.     “Releasing Parties” has the meaning set forth in Paragraph 3.

               z.     “Settlement Class” means all of the Classes identified in Paragraph

        2, considered collectively.

               aa.     “Settlement Class Member” means any Person that is a member of

        the Settlement Class.

               bb.    “Taxes” means any taxes due and payable with respect to the

        income earned by the QSF, including any interest or penalties thereon.

               cc.    “Tax Expenses” means any expenses and costs incurred in

        connection with the payment of Taxes (including, without limitation, expenses of

        tax attorneys, accountants, and other advisors and expenses relating to the filing

        or failure to file all necessary or advisable tax returns).




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                   dd.   “Training Classes” means the Florida Training Subclass, the New

          York Training Subclass, and the New Jersey Training Subclass as those classes

          were defined in the Order Granting in Part and Denying in Part Plaintiffs’ Motion

          for Rule 23 Class Certification and Appointment of Class Counsel (ECF No. 828).

          For avoidance of doubt, the Training Classes are a subset of the Settlement

          Class.

   II.    Settlement Class and Subclass Definitions

          2.       The Settlement Class shall be comprised of the Classes already identified

   and defined by the existing Court Orders. For avoidance of doubt, those Classes are

   comprised of the eleven classes or subclasses certified in the Second Amended Order

   Granting Motion for Conditional Collective Action Certification (ECF No. 569), and the

   eighteen Classes or Subclasses certified in the Order Granting in Part and Denying in

   Part Plaintiffs’ Motion for Rule 23 Class Certification and Appointment of Class Counsel

   (ECF No. 828), and subject to Court’s Order on Statute of Limitations (ECF No. 1176).

   III.   Releases

          A.       Discharge of All Released Claims

          3.       Effective upon the Effective Date, Released Parties, as defined in the next

   paragraph, shall be released and forever discharged by all Settlement Class Members

   (the “Releasing Parties”) from any and all causes of action, judgments, liens,

   indebtedness, costs, damages, penalties, expenses, obligations, attorneys’ fees, losses,

   claims, liabilities and demands of whatever kind or character (each a "Claim"), known or

   unknown, arising on or before the Effective Date, that are, were or could have been

   asserted against any of the Released Parties by reason of, arising out of, or in any way

   related to any of the facts, acts, events, transactions, occurrences, courses of conduct,


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   representations, omissions, circumstances or other matters referenced in the Litigation,

   whether any such Claim was or could have been asserted by any Releasing Party on

   her or his own behalf or on behalf of other Persons.

          4.     Released Parties means the Defendants in this action, together with their

   respective parents, subsidiaries, officers, directors, employees, contractors,

   shareholders, attorneys, agents, representatives, insurers, host families, and affiliates,

   expressly, but without limitation, including recruiting affiliates named and unnamed in

   the course of this Litigation for those Defendants who use the services of others to

   identify, recruit and/or screen au pair candidates. Notwithstanding any other provision

   in this Agreement, however, this Release shall not extend to claims or potential claims

   that any au pair may possess against her or his host family or families if such claims are

   (i) unrelated to the Claims asserted in the Litigation or (ii) unrelated to host family

   obligations under the federal Au Pair Program requirements, e.g., compensation, hours,

   education, or services required.

          B.     Release of Unknown Claims

          5.     The Releasing Parties acknowledge that they are aware that they may

   hereafter discover claims presently unknown or unsuspected, or facts in addition to or

   different from those that they now know or believe to be true, with respect to the claims

   being released pursuant to this Agreement. Nevertheless, it is the intention of the

   Releasing Parties in executing this Agreement that they fully, finally, and forever settle

   and release all such matters, and all claims relating thereto, which exist or might have

   existed (whether or not previously or currently asserted in any action or proceeding)

   against the Released Parties. The Releasing Parties voluntarily waive and relinquish




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   any and all rights to seek relief for unknown, unsuspected, or unanticipated claims or

   damages which the Releasing Parties may have under any applicable statutes or

   principles of law that limit the release of unknown, unsuspected, or unanticipated claims

   or damages, including but not limited to California Civil Code § 1542, which, as of

   December 31, 2018, provides:

                A general release does not extend to claims which the
                creditor does not know or suspect to exist in his or her favor
                at the time of executing the release, which if known by him
                or her must have materially affected his or her settlement
                with the debtor.

   and, as of January 1, 2019, is amended to read as follows:

                A general release does not extend to claims that the creditor
                or releasing party does not know or suspect to exist in his or
                her favor at the time of executing the release and that, if
                known by him or her, would have materially affected his or
                her settlement with the debtor or released party.

         6.     By executing this Agreement, the Releasing Parties acknowledge that (1)

   they are each represented by counsel; (2) they each have read and fully understand the

   provisions of California Civil Code § 1542; and (3) they each have been specifically

   advised by his or her counsel of the consequences of the above waiver and this

   Agreement generally.

         C.     Claims Relating to Settlement

         7.     Notwithstanding any of the foregoing or any other provision, none of the

   Parties release any claims relating to the enforcement of this Agreement.

   IV.   Settlement Consideration

         A.     Monetary Payment

         8.     The total settlement payment shall be in the amount of the Class

   Settlement Amount. The Class Settlement Amount shall constitute the only payment


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   required by Defendants pursuant to the Settlement. No further payment from

   Defendants shall be required with respect to the Claims, including for Plaintiffs’

   attorneys’ fees or costs, for administration of the QSF, for the provision and

   administration of notice, or for any other purpose.

          9.     Within fourteen (14) days after the Effective Date, Plaintiffs’ Counsel shall

   provide Defendants’ Counsel with wiring instructions and a Form W-9 for the QSF, and

   any other documents reasonably required by the Defendants to process the funding of

   their share of the Class Settlement Amount. Defendants will pay their respective shares

   of the Class Settlement Amount, by wire transfer or otherwise, within thirty-five (35)

   days after the Effective Date.

          10.    If any Defendant fails to meet their obligations under Paragraph 9, above,

   in full, Plaintiffs shall have the right of termination set forth in Paragraph 30, below, and

   to be returned to the pre-agreement status quo. Under no circumstances shall the

   remaining Defendants be deemed responsible for paying the share of the Defendant or

   Defendants who have not satisfied their obligations and made payment in full.

          11.    Other than the obligation of Defendants to pay or cause to be paid the

   Class Settlement Amount into the QSF, neither the Defendants nor any other of the

   Released Parties shall have any obligation to make any other payment pursuant to this

   Agreement. Any interest earned on the Class Settlement Amount after having been

   paid into the QSF shall be for the benefit of the Settlement Class, except as set forth in

   Paragraph 14, below.




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          B.     Prospective Commitment

          12.    In addition to the monetary payment described above, in compromise of

   this lawsuit Defendants further agree that, within thirty (30) days after the Effective Date:

                 a.     Each Defendant shall include a statement in an electronic or hard-

          copy communication to each host family upon enrollment in the federal au pair

          program sponsored by the Defendant to the effect that host families and au pairs

          are free to agree to compensation higher than the legally applicable minimum;

                 b.     each Defendant shall include where the compensation is

          referenced on its website, in its marketing materials, and/or in its contract with

          each new or returning host family, an express statement to the effect that host

          families and au pairs are free to agree to compensation higher than the legally

          applicable minimum;

                 c.     each Defendant that interacts directly with au pairs in their native or

          non-U.S. countries before their arrival in the United States shall include in an

          electronic or hard-copy communication to each au pair, in English and in the

          native language, or one of the native languages, of the au pair’s country of

          residence, an express statement to the effect that host families and au pairs are

          free to agree to compensation higher than the legally applicable minimum; and

                 d.     each Defendant that has no direct communications with au pairs in

          their native or non-U.S. countries before their arrival in the United States shall

          request in an electronic or hard-copy communication that the person or entity that

          recruits au pairs on the Defendant’s behalf include in an electronic or hard-copy

          communication to each au pair, in English and in the native language, or one of




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          the native languages, of the au pair’s country of residence, an express statement

          to the effect that host families and au pairs are free to agree to compensation

          higher than the legally applicable minimum.

   V.     The Qualified Settlement Fund

          13.    The Parties agree that at the time set forth in Paragraph 9, each

   Defendant shall pay its agreed upon share of the Class Settlement Amount into a

   Qualified Settlement Fund (“QSF”) within the meaning of Treasury Regulation

   § 1.468B-1, established by Plaintiffs’ Counsel pursuant to an order of the Court, which a

   Claims Administrator (selected by Plaintiffs’ Counsel) will be solely responsible for

   maintaining and administering, including with respect to all distributions. The Claims

   Administrator shall be classified as the “administrator” within the meaning of Treasury

   Regulation § 1.468B-2(k)(3) and shall be responsible, on behalf of the QSF, for filing

   any and all required federal, state, and local tax returns; for filing all required federal,

   state, and local information returns; and for ensuring compliance with all tax payment,

   notice, and withholding requirements with respect to the Class Settlement Amount. For

   the avoidance of doubt, the Released Parties will not be responsible for any payment,

   reporting, or withholding of taxes with respect to the Class Settlement Amount, and any

   taxes due shall be the responsibility of the Releasing Parties and the QSF. The Parties

   agree to take all steps necessary to ensure that the QSF established by the Court will

   qualify as, and remain, a “Qualified Settlement Fund” under Section 468B of the Internal

   Revenue Code and Treasury Regulations Sections 1.468B-1 through 1.468B-5

   promulgated thereunder, and effectuate its intended purpose. All fees and costs related

   to the creation and administration of the QSF shall be paid from the QSF, and no

   additional funds shall be required of the Released Parties.


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          14.    The QSF shall be used to pay: (i) Taxes and Tax Expenses; (ii) Notice

   and Administration Expenses; (iii) any attorneys’ fees and Litigation Expenses awarded

   by the Court; (iv) any other fees, costs, or expenses approved by the Court; and (v)

   amounts paid to Settlement Class Members. Funds shall be distributed to Settlement

   Class Members as provided below and in the Plan of Allocation approved by the Court.

   All costs and expenses incurred by or on behalf of Plaintiffs and members of the

   Settlement Class shall be paid from the QSF, as approved by the Court or provided for

   in this Agreement. No Released Party shall bear any further or additional responsibility

   to the Settlement Class or their counsel for any fees, costs or expenses beyond

   payment of the Class Settlement Amount.

   VI.    Attorneys’ Fees and Litigation Expenses

          15.    Plaintiffs’ Counsel intends to seek 35% of the Class Settlement Amount as

   attorneys’ fee and also seek payment of litigation expenses from the QSF. Defendants

   take no position with respect to this request.

   VII.   Plan of Allocation

          16.    The Plan of Allocation shall be as ordered by the Court.

          17.    Defendants take no position with respect to the Plan of Allocation, and will

   not oppose the requested allocation.

          18.    As used in this Section VII, the following terms shall have the following

   meanings:

                 a.     “Claim Form” shall mean a Court-approved form sent with the

          Notice that allows Settlement Class Members to request monetary participation

          in the settlement.




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               b.     “Claiming Class Member” shall mean any Settlement Class

        Member that submits a valid Claim Form.

               c.     “Participation Bonuses” shall mean $5,000 for each Plaintiff, $1,000

        for each Settlement Class Member who was deposed, and $100 for each

        Settlement Class Member who opted-in to a class certified in the Second

        Amended Order Granting Motion for Conditional Collective Action Certification

        (ECF No. 569). In the event that a Settlement Class Member qualifies for

        multiple Participation Bonuses, that Settlement Class Member shall be entitled to

        the largest of the Participation Bonuses for which they qualify.

               d.     “Primary Claim” shall mean a Claim for the period November 13,

        2010, through the end of the class period belonging to a Claiming Class Member.

               e.     “State Claim Class A” shall mean a Claim for the period prior to

        November 13, 2010, and for an au pair placement that occurred in Illinois,

        Michigan, New York, New Jersey, or Pennsylvania, belonging to a Claiming

        Class Member.

               f.     “State Claim Class B” shall mean a Claim for the period prior to

        November 13, 2010, and for an au pair placement that occurred in any state

        other than those included in State Claim Class A, belonging to a Claiming Class

        Member.

               g.     “Total Claim” shall mean the amount that a Claiming Class Member

        would receive pursuant to the Plan of Allocation prior to any weighting or pro rata

        distribution. Plaintiffs shall seek Court approval for the formula used to calculate

        a Claiming Class Member’s Total Claim, which formula Plaintiffs have shared




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         with Defendants and with respect to which Defendants have agreed to take no

         position. By agreeing to take no position with respect to the use of the formula for

         the purposes of this settlement only, Defendants do not thereby agree that the

         formula is generally appropriate for calculating au pair compensation.

                  h.     “Training Claim” shall mean a Claim belonging to a Claiming Class

         Member who is also a member of the Training Classes. For Claiming Class

         Members who are members of a Training Class and also a member of another

         class or sub-class included in the Settlement Class, a Training Claim shall refer

         only to those claims they have as a result of their membership in a Training

         Class.

                  i.     “Void Date” shall mean a date established by the Claims

         Administrator as of which any check issued but not cashed shall be void. The

         Void Date shall be not earlier than 180 days after the issue date of the check.

         19.      Monies from the QSF will be distributed first to pay costs, fees, or

   expenses chargeable to the QSF pursuant to this Agreement.

         20.      Monies from the QSF will be distributed second to pay Participation

   Bonuses.

         21.      Monies from the QSF will be distributed third to Settlement Class

   Members according to the following principles:

                  a.     The Claims Administrator will be responsible for calculating the

         Total Claim for each Claiming Class Member.

                  b.     The Claims Administrator will weight the Total Claim for each

         Claiming Class Member as 100% for Primary Claims, 80% for Training Claims,




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           40% for State Claims Class A, and 20% for State Claims Class B. Based on this

           weighting, the Class Administrator will distribute funds to Claiming Class

           Members on a pro-rata basis.

                 c.     To the extent that any funds remain in the QSF after the Void Date

           (from un-cashed checks or otherwise), such remaining funds shall be paid to an

           appropriate non-profit that is agreed upon by the Parties as a cy pres recipient.

   VIII.   Objections

           22.   Any Settlement Class Member wishing to object to the Agreement may do

   so only according to the process ordered by the Court.

           23.   Plaintiffs’ Counsel may communicate with Settlement Class Members

   regarding any objection and may advise the Court of any Settlement Class Member that

   has communicated that he or she wishes to withdraw their objection.

           24.   The Parties agree not to file, and to oppose, any objection to this

   Agreement.

   IX.     Request for Approval from Court

           25.   Plaintiffs’ counsel shall file this Agreement with the Court within two (2)

   business days after completion of its execution. No later than five (5) business days

   after the Agreement is filed with the Court, Plaintiffs, by and through counsel, shall

   move for the Court’s approval of the Preliminary Approval Order, which shall be

   substantially in the form attached hereto as Exhibit B. The Preliminary Approval Order

   will, inter alia, set the date for a Fairness Hearing and prescribe the method for giving

   notice of the Settlement to the Settlement Class.

           26.   The Parties agree that au pairs who have already received an opportunity

   to opt-out do not need to be afforded a second opportunity.


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          27.    Au pairs who were sponsored by AuPairCare, and certain au pairs whose

   placements occurred in 2017 and 2018 (the “Opt-Out Au Pairs”) did not receive an

   opportunity to opt-out. The Parties agree that an opt-out period is necessary with

   respect to the Opt-Out Au Pairs. The Notice issued to Opt-Out Au Pairs shall differ from

   the Notice sent to all other Settlement Class Members in that, in addition to the

   language sent in the Notice to other Settlement Class Members, it will offer the Opt-Out

   Au Pairs an opportunity to opt-out of the relevant Classes (including Subclasses) within

   ninety (90) days of sending the Notice.

          28.    Not later than ten (10) days after the Settlement Agreement is filed in

   court, the Claims Administrator shall in consultation with Defendants’ counsel provide

   notice of the proposed class action settlement to the appropriate state officials (i.e. each

   state attorney general) and the Attorney General of the United States pursuant to 28

   U.S.C. § 1715, and the costs of such notice shall be paid from the QSF.

          29.    The Settlement is expressly conditioned upon, among other things, the

   entry of a Judgment substantially in the form annexed hereto as Exhibit C. Plaintiffs, by

   and through counsel, shall move for entry of the Judgment, including, among other

   things, the releases described herein.

   X.     WAIVER OR TERMINATION

          30.    Plaintiffs or Defendants shall have the right to terminate the Settlement in

   its entirety by providing written notice of their election to do so (“Termination Notice”),

   through counsel, to counsel for all other Parties hereto, within fourteen (14) calendar

   days of: (i) the Court’s refusal to enter the Preliminary Approval Order in any material

   respect; (ii) the Court’s refusal to enter the Judgment in any material respect or an

   alternative judgment acceptable to the Parties with respect to the Settlement; or (iii) the


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   date upon which the Judgment or Alternative Judgment is vacated, modified, or

   reversed in any material respect by a Final order of the United States Court of Appeals

   or the Supreme Court of the United States. Plaintiffs shall have the right to terminate the

   Settlement in its entirety by providing Termination Notice through counsel, to counsel for

   all other Parties hereto, within fourteen (14) calendar days of Defendants’ failure to

   satisfy their obligations in Section IV.A, above. In the event the Settlement is

   terminated, the provisions of Paragraphs 32 and 33 shall survive termination. No Party

   shall have the right to terminate the Settlement due to any decision, ruling, or order

   regarding an application for attorneys’ fees, Litigation Expenses, or the Plan of

   Allocation.

          31.    If an option to withdraw from and terminate this Settlement arises under

   Paragraph 30 above, neither Plaintiffs nor Defendants will be required for any reason or

   under any circumstance to exercise that option.

          32.    Except as otherwise provided herein, in the event the Settlement is

   terminated in its entirety, the Settlement will be without prejudice, and none of its terms

   shall be effective or enforceable, except as specifically provided herein. Plaintiffs and

   Defendants shall be deemed to have reverted to their respective status in the Litigation

   as of January 3, 2019, and, except as otherwise expressly provided, the Parties shall

   proceed in all respects as if this Agreement and any related orders had not been

   entered. In such event, the fact and terms of the Term Sheet, this Agreement, or any

   aspect of the negotiations leading to this Agreement, shall not be admissible in this or

   other litigation and shall not be used by Plaintiffs against Defendants in any court filings,

   depositions, at trial, or otherwise.




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         33.    In the event the Settlement is terminated in its entirety, or if the Effective

   Date is barred from occurring, pursuant to the provisions above, any portion of the

   Class Settlement Amount that already has been paid by or on behalf of the

   Defendants, including any funds disbursed in payment of attorneys’ fees, and/or

   Litigation Expenses, together with any interest earnings or appreciation thereon, less

   any Taxes and Tax Expenses paid or due with respect to such income, and less

   Notice and Administration Expenses actually and reasonably incurred and paid or

   payable from the QSF, shall be returned to Defendants within fourteen (14) business

   days after written notification of such event in accordance with instructions provided

   by Defendants’ Counsel to Plaintiffs’ Counsel. At the request of Defendants’ Counsel,

   the Plaintiffs’ Counsel and/or the Claims Administrator shall apply for any tax refund

   owed on the amounts in the QSF and pay the proceeds, after any deduction of any

   fees or expenses actually and reasonably incurred in connection with such

   application(s), of such refund to the Person(s) that made the deposits or as otherwise

   directed.

   XI.   EFFECTIVE DATE OF SETTLEMENT

         34.    The Effective Date of the Settlement shall be the first date when all of the

   following shall have occurred:

                a.     entry of the Preliminary Approval Order;

                b.     approval by the Court of the Settlement following notice to the

         Class and a hearing in accordance with Rule 23 of the Federal Rules of Civil

         Procedure;

                c.     entry of the Judgment, substantially in the form annexed hereto as

         Exhibit C, or entry of any Alternative Judgment; and


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                 d.     the Judgment or any Alternative Judgment has become Final.

   XII.   NO ADMISSION OF WRONGDOING

          35.    Except as provided in Paragraph 7 above, this Agreement and any

   negotiations, proceedings, or agreements relating to this Agreement, the Settlement,

   and any matters arising in connection with settlement negotiations, proceedings, or

   agreements, shall not be offered or received against the Parties or Released Parties

   and their counsel for any purpose, and in particular:

                 a.     do not constitute, and shall not be offered or received against any

          Parties or Released Parties as evidence of, or construed as, or deemed to be

          evidence of any presumption, concession, or admission by Released Parties

          with respect to the truth of any fact alleged by Plaintiffs or any other Settlement

          Class Member or the validity of any Claim that has been or could have been

          asserted in the Litigation, including but not limited to the Released Claims, or of

          any liability, damages, negligence, fault, or wrongdoing of the Released Parties;

                 b.     do not constitute, and shall not be offered or received against any

          Parties or Released Parties as evidence of a presumption, concession, or

          admission of any fault, misstatement, or omission with respect to any statement

          or written document approved or made by Released Parties, or against the

          Plaintiffs, or any other Settlement Class Member as evidence of any infirmity in

          the Claims or defenses that have been or could have been asserted in the

          Litigation;

                 c.     do not constitute, and shall not be offered or received against any

          Parties or Released Parties, as evidence of a presumption, concession, or

          admission with respect to any liability, damages, negligence, fault, infirmity, or


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           wrongdoing, or in any way referred to for any other reason against Released

           Parties, in any other civil, criminal, or administrative action or proceeding, other

           than such proceedings as may be necessary to effectuate the provisions of this

           Agreement; and

                  d.     do not constitute, and shall not be construed against any Parties

           or Released Parties, as an admission or concession that the consideration to

           be given hereunder represents the amount which could be or would have been

           recovered after trial.

   XIII.   MISCELLANEOUS PROVISIONS

           36.    The Parties agree that no Party was or is a “prevailing party” in the

   Litigation.

           37.    In light of the several years and millions of pages of discovery in this

   matter, the Parties agree that this Settlement is not subject to confirmatory discovery.

           38.    All of the exhibits attached to this Agreement are material and integral

   parts hereof and are fully incorporated by reference as though fully set forth herein.

   Notwithstanding the foregoing, in the event that there exists a conflict or inconsistency

   between the terms of this Agreement and the terms of any exhibit attached hereto, the

   terms of this Agreement shall prevail.

           39.    This Agreement may not be modified or amended, nor may any of its

   provisions be waived, except by a writing signed by counsel or a representative for all

   of the Parties (or their successors-in-interest) materially and adversely affected by any

   such modification, amendment, or waiver.

           40.    The headings herein are used for the purpose of convenience only and

   are not meant to have legal effect.


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          41.    The Parties agree that the terms of the Settlement were negotiated at

   arm’s length, in good faith by the Parties, and reflect a settlement that was reached

   voluntarily based upon adequate information and after consultation with experienced

   legal counsel.

          42.    The waiver by one Party of any breach of this Agreement by any other

   Party shall not be deemed a waiver of any other prior or subsequent breach of this

   Agreement.

          43.    This Agreement and its exhibits constitute the entire agreement among

   the Parties, and no representations, warranties, or inducements have been made to

   any Party concerning this Agreement or its exhibits, other than the representations,

   warranties, and covenants contained and memorialized in such documents.

          44.    This Agreement may be executed in one or more counterparts, including

   by signature transmitted via facsimile, or by a .pdf/.tif image of the signature

   transmitted via e-mail. All executed counterparts and each of them shall be deemed to

   be one and the same instrument.

          45.    Each person signing this Agreement represents that such person has

   authority to sign this Agreement on behalf of Plaintiffs or Defendants, as the case may

   be, and that they have the authority to take appropriate action required or permitted to

   be taken pursuant to this Agreement to effectuate its terms.

          46.    By entering into the Settlement, Plaintiffs represent and warrant that they

   have not assigned, hypothecated, conveyed, transferred, or otherwise granted or

   given any interest in the Released Claims, or any of them, to any other Person.




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          47.    This Agreement shall be binding upon, and inure to the benefit of, the

   successors and assigns of the Parties hereto, including any and all Released Parties

   and any corporation, partnership, or other entity into or with which any Party may

   merge, consolidate, or reorganize.

          48.    If any Party is required to give notice to the other Parties under this

   Agreement, such notice shall be in writing and shall be deemed to have been duly

   given upon receipt of hand delivery, e-mail, facsimile, or in person to each of the

   signatories below.

          49.    The administration, consummation, and enforcement of the Settlement

   as embodied in this Agreement shall be under the authority of the Court, and the

   Parties intend that the Court retain jurisdiction for the purpose of, inter alia, entering

   orders, providing for awards of attorneys’ fees, and payment of Litigation Expenses,

   and enforcing the terms of this Agreement and the Settlement.

          50.    The construction, interpretation, operation, effect, and validity of this

   Agreement and all documents necessary to effectuate it shall be governed by the

   internal laws of the State of New York without regard to conflicts of laws, except to the

   extent that federal law requires that federal law govern.

          51.    This Agreement shall not be construed more strictly against one Party

   than another merely by virtue of the fact that it, or any part of it, may have been

   prepared by counsel for one of the Parties, it being recognized that it is the result of

   arm’s-length negotiations between the Parties and all Parties have contributed

   substantially and materially to the preparation of this Agreement.




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           IN WITNESS THEREOF, the Parties hereto have caused this Agreement to be

    executed, by their duly authorized attorneys, as of January _, 2019.



     Executed by the Parties on the dates indicated below.



                                      FOR PLW       IFFS AND THE CLASS

    Date: January :L_, 2019           By       ,i\. sj'=
                                      Name:    e}   0   /   5l<.'.o~£
                                      BOIES SCHILLER FLEXNER LLP
                                      575 Lexington Avenue
                                      New York, New York 10022
                                      Tel : (212) 446-2300
                                      Fax: (212) 446-2350

                                      Counsel for the Plaintiffs and the Settlement Class




                                      AGENT AU PAIR, INC.

    Date: January _ , 2019            By:



                                      Title:


                                      AMERICAN CULTURAL EXCHANGE, LLC, d/b/a
                                      GOAU PAIR
    Date: January _   , 2019          By:



                                      Title:




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          IN WITNESS THEREOF, the Parties hereto have caused this Agreement to be

    executed, by their duly authorized attorneys, as of January _, 2019.



    Executed by the Parties on the dates indicated below.



                                     FOR PLAINTIFFS AND THE CLASS

    Date: January_, 2019             By:

                                     Name: _ _ __ __ _ _ __ _ _ __

                                     BOIES SCHILLER FLEXNER LLP
                                     575 Lexington Avenue
                                     New York, New York 10022
                                     Tel: (212) 446-2300
                                     Fax: (212) 446-2350

                                     Counsel for the Plaintiffs and the Settlement Class




                                     AGENT AU PAIR, INC.

    Date: January ' / , 2019          By:      ~.,{)_· ~



                                     AMERICAN CULTURAL EXCHANGE, LLC, d/b/a
                                     GOAU PAIR
    Date: January_, 2019             By:

                                      Name: _ __ _ _ _ __ _ _ _ _ __

                                      Title:




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           IN WITNESS THEREOF, the Parties hereto have caused this Agreement to be

     executed, by their duly authorized   a.t~orneys,   as of January_, 2019.



     Executed by the Parties on the dates indicated below.



                                          FOR PLAINTIFFS AND THE CLASS

     Date: January_, 2019                 By:



                                          BOIES SCHILLER FLEXNER LLP
                                          575 Lexington Avenue
                                          New York, New York 10022
                                          Tel: (212) 446-2300
                                          Fax: (212) 446-2350

                                          Counsel for the Plaintiffs and the Settlement Class



                                          AGENT AU PAIR, INC.

     Date: January_, 2019                 By:



                                          Title:


                                          AMERICAN CULTURAL EXCHANGE, LLC, d/b/a
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                               AMERICAN INSTITUTE FOR FOREIGN STUDY,
                               INC. D/B/A AU PAIR IN AMERICA

    Date: January_, 2019       By:

                               Name:
                                        -------------
                               Title:




                               AU PAIR INTERNATIONAL, INC.

    Date: January_, 2019       By:

                               Name:
                                        -------------
                               Title:



                               APF GLOBAL EXCHANGE, NFP D/B/A AU PAIR
                               FOUNDATION

    Date: January_, 2019       By:

                               Name:
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                               Title:




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                                  GO AU PAIR OPERATIONS, LLC

     Date: January_, 2019         By:



                                  Title:




                                  AMERICAN INSTITUTE FOR FOREIGN STUDY,
                                  INC. D/B/A AU PAIR~

    Date: January .!:i:__, 2019   By:            ?1 jQ__
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                                  AU PAIR INTERNATIONAL, INC.

    Date: January_, 2019          By:
                                  Name:. _ _ _ _ _ _ _ _ _ _ __

                                  Title:



                                  APF GLOBAL EXCHANGE, NFP D/B/A AU PAIR
                                  FOUNDATION

    Date: January_, 2019          By:
                                  Name: _ _ _ _ _ _ _ _ _ _ __

                                  Title:




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                               GO AU PAIR OPERATIONS, LLC

   Date: January ___, 2019     By:

                               Name:

                               Title:




                               AMERICAN INSTITUTE FOR FOREIGN STUDY,
                               INC. D/B/A AU PAIR IN AMERICA

   Date: January ___, 2019     By:

                               Name:

                               Title:




                               AU PAIR INTERNATIONAL, INC.

   Date: January ___, 2019     By:

                               Name:

                               Title:



                               APF GLOBAL EXCHANGE, NFP D/B/A AU PAIR
                               FOUNDATION

   Date: January ___, 2019     By:

                               Name:

                               Title:




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   Date: January_, 2019         By:



                                Title:




                                AMERICAN INSTITUTE FOR FOREIGN STUDY,
                                INC. D/B/A AU PAIR IN AMERICA

   Date: January_, 2019         By:



                                Title:




                                AU PAIR INTERNATIONAL, INC.

   Date: January_, 2019         By:

                                Name: - - - - - - - - - - - - -

                                Title:



                                APF GLOBAL EXCHANGE, NFP D/B/A AU PAIR
                                FOUNDATION          ~


   Date: January   'J__, 2019   By:    ~ _B fb7c___/
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                                AUPAIRCARE, INC.



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                                               , INC.

   Date: January !1_, 2019

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                               CULTURAL CARE, INC. D/B/A CULTURAL CARE
                               AU PAIR

   Date: January _   , 2019    By:

                               Name:
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                               Title:




                               CULTURAL HOMESTAY INTERNATIONAL

   Date: January _   , 2019    By:

                                Name:
                                         -------------
                               Title:




                               EURAUPAIR INTERCULTURAL CHILD CARE
                               PROGRAMS

   Date: January _   , 2019     By:

                                Name:
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                                Title:




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                               AUPAIRCARE, INC .

    Date: January_, 2019       By:

                               Name:
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                               Title:




                               CULTURAL CARE, INC. D/B/A CULTURAL CARE
                               AU PAIR~

   Date: January   j__,2019    By:       ~
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                               Title:        f{Ji ·t   I   Cro-1




                               CULTURAL HOMESTAY INTERNATIONAL

   Date: January_, 2019        By:

                               Name:
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                               EU RAU PAIR INTERCULTURAL CHILD CARE
                               PROGRAMS

   Date: January_, 2019        By:

                               Name:
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                               AUPAIRCARE, INC.

   Date: January ___, 2019     By:

                               Name:

                               Title:




                               CULTURAL CARE, INC. D/B/A CULTURAL CARE
                               AU PAIR

   Date: January ___, 2019     By:

                               Name:

                               Title:




                               CULTURAL HOMESTAY INTERNATIONAL

                  4 2019
   Date: January ___,          By:

                               Name: Thomas Areton

                               Title:    Executive Director




                               EURAUPAIR INTERCULTURAL CHILD CARE
                               PROGRAMS

   Date: January ___, 2019     By:

                               Name:

                               Title:




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                                AUPAIRCARE, INC.

    Date: January_, 2019        By:

                                Name: _ _ _ _ _ _ _ _ _ _ _ __

                                Title:




                                CULTlJRAL CARE, INC. D/B/A CULTURAL CARE
                                AU PAIR

    Date: January_, 2019        By:

                                Name:
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                                CULTURAL HOMESTAY INTERNATIONAL

    Date: January_, 2019        By:

                                Name:- - - - - - - - - - - - -

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                                EURAUPAIR INTERCULTURAL CHILD CARE
                                PROGRAMS ~

    Date: January1.-. 2019      By:   ru~r
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                                EXPERT GROUP INTERNATIONAL, INC. D/B/A
                                EXPERT AU PAIR

   Date: January   7 , 2019     By:           AL   1rJ


                                GREAT AUPAIR, LLC

   Date: January_, 2019         By:

                                Name:
                                         -------------
                                Title:




                                INTEREXCHANGE, INC.

   Date: January_, 2019         By:

                                Name:
                                         -------------
                                Title:




                                AP.EX. AMERICAN PROFESSIONAL EXCHANGE,
                                LLC D/B/A PROAUPAIR

   Date: January_, 2019         By:

                                Name:
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                                  EXPERT GROUP INTERNATIONAL, INC . D/B/A
                                  EXPERT AU PAIR

     Date: January_, 2019         By:
                                  Name:_ _ _ _ _ _ _ _ _ _ _ __

                                  Title:



                                  GREAT AUPAIR, LLC

     Date: January _!:[._. 2019   By       ~... ~k
                                  Name:    St-tJHJtJON   Pl1rS
                                  Title:   C..FO



                                  INTEREXCHANGE, INC.

     Date: January_, 2019         By:
                                  Name: _ _ _ _ _ _ _ _ _ _ _ __

                                  Title:




                                  AP.EX. AMERICAN PROFESSIONAL EXCHANGE ,
                                  LLC D/B/A PROAUPAIR

     Date: January_, 2019         By:
                                  Name:_ _ _ _ _ _ _ _ _ _ _ __

                                  Title:




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                                 EXPERT GROUP INTERNATIONAL, INC. D/B/A
                                 EXPERT AU PAIR

      Date: January_, 2019       By:

                                 Name:
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                                 Title:



                                 GREAT AUPAIR, LLC

      Date: January_, 2019       By:

                                 Name:
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                                 Title:




                       ·pt
      Date: January   j_,2019




                                 AP .EX. AMERICAN PROFESSIONAL EXCHANGE,
                                 LLC D/B/A PROAUPAIR

      Date: January_, 2019       By:

                                 Name:
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                               EXPERT GROUP INTERNATIONAL, INC. D/B/A
                               EXPERT AU PAIR

   Date: January ___, 2019     By:

                               Name:

                               Title:



                               GREAT AUPAIR, LLC

   Date: January ___, 2019     By:

                               Name:

                               Title:




                               INTEREXCHANGE, INC.

   Date: January ___, 2019     By:

                               Name:

                               Title:




                               A.P.EX. AMERICAN PROFESSIONAL EXCHANGE,
                               LLC D/B/A PROAUPAIR

                 5
   Date: January ___, 2019     By:

                               Name: Susan Asay

                               Title:   CEO




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                               20/20 CARE EXCHANGE, INC. D/B/A THE
                               INTERNATIONAL AU PAIR EXCHANGE

                  5
   Date: January ___, 2019     By:
                                        Susan Asay
                               Name:
                                        CEO
                               Title:


                               USAUPAIR, INC.

   Date: January ___, 2019     By:

                               Name:

                               Title:




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                                20/20 CARE EXCHANGE, INC. D/8/A THE
                                INTERNATIONAL AU PAIR EXCHANGE

     Date: January_, 2019       By:

                                Name: _ _ _ _ _ _ _ _ _ _ _ __

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     Date: January b._, 2019    By:

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                        Exhibit A
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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO

   NOTICE OF PROPOSED SETTLEMENT OF CLASS AND COLLECTIVE
        ACTION, FAIRNESS HEARING, AND RIGHT TO APPEAR

   If you were an au pair on a J-1 visa in the United States between Jan. 1, 2009,
         and October 28, 2018, you could get a payment from a settlement.
                A Court authorized this notice. This is not a solicitation from a lawyer.

   •   The settlement resolves a lawsuit au pairs filed against U.S. State Department designated
       sponsors of the J-1 au pair program (the “Defendants”), alleging various claims against those
       Defendants arising from the weekly stipend hosting families pay to au pairs. The Court has
       not ruled that the Defendants did anything wrong or violated any laws.

   •   The settlement creates a $65,500,000 fund to pay individual claims from au pairs, expenses
       incurred in advancing this lawsuit, and the court-appointed lawyers for the au pairs (“Class
       Counsel”).

   •   The settlement also requires that, going forward, the Defendants will clarify in a notice to au
       pairs and host families that the weekly au pair stipend is a minimum payment requirement.

   •   The court-appointed lawyers for the au pairs, who have handled all aspects of this case and
       have not been paid for their work, will ask the Court for 35% of the settlement for their fees
       and also for payment of litigation expenses.


 YOUR LEGAL RIGHTS ARE AFFECTED NOW, AND YOU HAVE A CHOICE TO MAKE:

SUBMIT A CLAIM FORM                 The only way to get a payment. Release your claims.

[EXCLUDE YOURSELF                   Get no payment. Retain your claims.]

OBJECT                              Write to the Court about why you do not agree with the
                                    settlement.
GO TO A HEARING                     Ask to speak in Court about the fairness of the settlement.

DO NOTHING                          Get no payment. Release your claims.

   •   These rights and options—and the deadlines to exercise them—are explained in this
       Notice. Please read this Notice carefully.

   •   The Court still has to decide whether to approve the settlement. Payments will be made if the
       Court approves the settlement and after any appeals are resolved.
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          3. What is a class action and who is involved? .................................................................. 3
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                                     BASIC INFORMATION
   1. Why did I get this notice?

   This Notice is to tell you about a settlement in the class and collective action lawsuit involving
   sponsoring organizations of the J-1 au pair program (the “Defendants” listed below in
   Question 3) relating to the weekly stipend hosting families pay to au pairs. This notice is being
   sent to you because you have previously joined the Fair Labor Standards Act (“FLSA”) claims in
   this case, or because you are a member of one or more of the classes certified by the Court.
   Judge Christine Arguello of the United States District Court for the District of Colorado is
   overseeing this case. The case is known as Beltran, et al. v. Interexchange, et al., Case No. 14-
   cv-3074.

   2. What is this lawsuit about?

   As part of the J-1 au pair program, certain organizations (the “Defendants” listed below in
   question 3) are designated by the U.S. State Department as sponsors of the program, which
   allows au pairs to live and work in the United States on J-1 visas. The au pairs allege that those
   Defendants misrepresented the au pair stipend as a fixed amount, conspired to fix the au pair
   stipend at $195.75 per week, and that they violated federal, state, and local laws in doing so. The
   Defendants deny that they or the hosting families did anything wrong. The Court has not ruled
   that the Defendants committed any wrongdoing or violated any law.

   You can read the Plaintiffs’ Complaint at www.website.com.

   This lawsuit has two components. First, this lawsuit is a “Class Action” under Federal Rule of
   Civil Procedure 23, in which numerous classes of au pairs assert federal and state claims against
   certain of the Defendants. Second, this lawsuit is a “Collective Action” under the FLSA, in
   which the au pairs allege that certain Defendants violated the FLSA by failing to pay them the
   appropriate minimum wage and for overtime. The differences between the Class Action and
   Collective Action are discussed further below.

   3. What is a class action and who is involved?

   In a class action lawsuit, one or more people called “Class Representatives” sue on behalf of all
   other people who have similar claims. Together they are the “Class Members.” A class action
   resolves the claims for all Class Members, except for those who exclude themselves. The Court
   has appointed eleven current and former au pairs as Class Representatives. Together with the
   Class Members, they are also called the Plaintiffs. They sued the following Defendants:

   •   InterExchange, Inc.               •   USAuPair, Inc.
   •   GreatAuPair, LLC                  •   Expert Group International Inc., d/b/a Expert AuPair
   •   AuPairCare Inc.                   •   EurAuPair Intercultural Child Care Programs
   •   Agent Au Pair                     •   Cultural Homestay International
   •   Au Pair International, Inc.       •   American Institute for Foreign Study, Inc., d/b/a Au Pair in

   Questions? Visit www.website.com or Call 1-800-000-0000                                 Page 3 of 12
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                                               America
   •   Cultural Care, Inc., d/b/a Cultural •   20/20 Care Exchange, Inc., d/b/a The International Au Pair
       Care Au Pair                            Exchange
   •   APF Global Exchange NFP, d/b/a •        A.P.EX. American Professional Exchange LLC, d/b/a
       Aupair Foundation                       ProAuPair
                                           •   American Cultural Exchange LLC d/b/a Go Au Pair and Go
                                               Au Pair Operations, LLC (together, “Go Au Pair”).
   4. What is a collective action and who is involved?

   A collective action is similar to a class action in many respects: individuals with similar claims
   pursue those claims collectively against one of more defendants, through a class representative.
   However, the FLSA requires that individuals wishing to participate in a collective action “opt-in”
   to the class. In this case, the Court has conditionally certified eleven FLSA classes against six
   Defendants (the “FLSA Defendants”) for alleged minimum wage and overtime violations which
   the Defendants deny: (1) AuPairCare Inc.; (2) American Institute for Foreign Study, Inc., d/b/a
   Au Pair in America; (3) Cultural Care, Inc., d/b/a Cultural Care Au Pair; (4) Expert Group
   International Inc., d/b/a Expert AuPair; (5) American Cultural Exchange LLC d/b/a Go Au Pair
   and Go Au Pair Operations, LLC (together, “Go Au Pair”); and (6) InterExchange, Inc. The
   Court has appointed eight current and former au pairs as representatives of the FLSA classes.
   The Court has not ruled on final certification of the FLSA classes.

   Au pairs who were sponsored by the FLSA Defendants were separately provided notice of the
   FLSA Collective Action, and had the opportunity to “opt-in” by submitting a consent-to-join
   form. The deadline for submitting the consent-to-join form has passed, and any au pair who did
   not do so is not part of the Collective Action. As a result, they are not eligible for the additional
   settlement payment (as described in Question 10) for au pairs who opted-in. However, those au
   pairs who did not opt-in may also obtain settlement funds as members of the Class Action, if
   they fit the class definitions in Question 7, and return a completed Claim Form.

   5. Am I a member of the Class Action or the Collective Action?

   You may be a member of both. All current or former au pairs who fit the class definitions in
   Question 7 and have not requested to be excluded are automatically included in this lawsuit as
   Class Members in the Class Action; there is no need to file any consent or “opt-in” to be Class
   Members. However, to join the Collective Action, you had to return the consent-to-join form.
   Thus, only those au pairs who submitted a consent-to-join form by the appropriate deadline are
   part of the Collective Action.

   Opting-in to the Collective Action, or deciding not to join the Collective Action, does not impact
   your membership in the Class Action. Au pairs who did not submit a consent-to-join the
   Collective Action may still be Class Members in the Class Action, and obtain funds under the
   Settlement as a Class Member.
   To confirm whether you are a member of the Collective Action, you may contact the Claims
   Administrator by email, at info@email.com, or by telephone, at 1-800-000-0000.



   Questions? Visit www.website.com or Call 1-800-000-0000                                 Page 4 of 12
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                                        The Settlement
   6. Why is there a Settlement?

   The Court has not found in favor of the au pairs or the Defendants. The au pairs and the
   Defendants have agreed to a Settlement which, if it is approved, will bring the claims against the
   Defendants to an end, and avoid a trial. That way, both sides avoid the uncertainty of continuing
   the case and the cost of further litigation, and eligible au pairs will get the benefits of the
   Settlement. Class Counsel and the Class Representatives support the Settlement.

   7. Am I part of Settlement?

   All au pairs who submitted valid consent-to-join forms in the Collective Action are included in
   the Settlement and may obtain funds, upon submitting a Claim Form. In addition, all Class
   Members in the Class Action are included in the Settlement and may obtain funds, upon
   submitting a Claim Form. Class Members are all persons who were standard au pairs on a J-1
   visa sponsored by one of the Defendants listed in Question 3, between January 1, 2009, and
   October 28, 2018. A “standard” au pair is an au pair who was expected to provide up to 45 hours
   of childcare per week, and for whom the advertised stipend was $195.75. The Class is made up
   of eighteen (18) separate classes, each specific to certain legal claims, Defendants, and States. If
   you are a member of any of the classes, you may be entitled to Settlement funds.
                      Antitrust Class: All persons sponsored by any Defendant to work as a standard au
                                       pair in the United States pursuant to a J-1 Visa.

           Racketeer Influenced and All persons sponsored by Defendants Au Pair in America
       Corruption Organizations Act (American Institute for Foreign Study, Inc.), AuPairCare, Inc.,
                      (RICO) Class: Cultural Care, Inc., or InterExchange, Inc. to work as a standard au
                                    pair in the United States pursuant to a J-1 Visa.

           Florida Training Subclass: All persons subjected to unpaid standard au pair training by
                                      Defendant Expert Group International, Inc. in Florida.

        New York Training Subclass: All persons subjected to unpaid standard au pair training by
                                    Defendants Au Pair in America (American Institute for Foreign
                                    Study, Inc.), Cultural Care, Inc. or InterExchange, Inc. in New
                                    York.

       New Jersey Training Subclass: All persons subjected to unpaid standard au pair training by
                                     Defendant AuPairCare in New Jersey.

       Au Pair in America California All persons sponsored by Defendant Au Pair in America
                           Subclass: (American Institute for Foreign Study, Inc.) to work as a standard
                                     au pair in the State of California pursuant to a J-1 Visa.

           Au Pair in America Illinois All persons sponsored by Defendant Au Pair in America
                           Subclass: (American Institute for Foreign Study, Inc.) to work as a standard

   Questions? Visit www.website.com or Call 1-800-000-0000                                Page 5 of 12
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                                        au pair in the State of Illinois pursuant to a J-1 Visa.

     AuPairCare Michigan Subclass: All persons sponsored by Defendant AuPairCare, Inc. to work as a
                                   standard au pair in the State of Michigan pursuant to a J-1 Visa.

           AuPairCare Pennsylvania All persons sponsored by Defendant AuPairCare, Inc. to work as a
                         Subclass: standard au pair in the Commonwealth of Pennsylvania pursuant
                                   to a J-1 Visa.

   Cultural Care Maryland Subclass: All persons sponsored by Defendant Cultural Care, Inc. to work as
                                    a standard au pair in the State of Maryland pursuant to a J-1 Visa.

                     Cultural Care All persons sponsored by Defendant Cultural Care, Inc. to work as
             Massachusetts Subclass: a standard au pair in the Commonwealth of Massachusetts
                                     pursuant to a J-1 Visa.

         Cultural Care Pennsylvania All persons sponsored by Defendant Cultural Care, Inc. to work as
                          Subclass: a standard au pair in the Commonwealth of Pennsylvania pursuant
                                    to a J-1 Visa.

       Cultural Care Texas Subclass: All persons sponsored by Defendant Cultural Care, Inc. to work
                                     as a standard au pair in the State of Texas pursuant to a J-1 Visa.

        Cultural Care Utah Subclass: All persons sponsored by Defendant Cultural Care, Inc. to work
                                     as a standard au pair in the State of Utah pursuant to a J-1 Visa.

     Cultural Care Virginia Subclass: All persons sponsored by Defendant Cultural Care, Inc. to work
                                      as a standard au pair in the Commonwealth of Virginia pursuant
                                      to a J-1 Visa.

            Expert Au Pair Colorado All persons sponsored by Defendant Expert Group International,
                           Subclass: Inc. to work as a standard au pair in the State of Colorado
                                     pursuant to a J-1 Visa.

      Go Au Pair Maryland Subclass: All persons sponsored by Defendant American Cultural Exchange
                                    LLC d/b/a Go Au Pair and Go Au Pair Operations, LLC
                                    (together, “Go Au Pair”) to work as a standard au pair in the
                                    State of Maryland pursuant to a J-1 Visa.

   InterExchange Colorado Subclass: All persons sponsored by Defendant InterExchange, Inc. to work
                                    as a standard au pair in the State of Colorado pursuant to a J-1
                                    Visa.


   8. Are any au pairs not included in the Settlement?

   If you were an au pair sponsored by one of the Defendants before January 1, 2009 or after
   October 28, 2018, you are not included in the Class, and therefore not included in the
   Settlement. The Class does not include non-standard J-1 visa au pairs, such as “Extraordinaire”,



   Questions? Visit www.website.com or Call 1-800-000-0000                                     Page 6 of 12
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   “EduCare,” “Professional,” “Premium,” or “Plus” au pairs. The Class also does not include
   other providers of in-home childcare, such as nannies or babysitters.

   9. What does the Settlement provide?

   The Defendants will pay $65,500,000 into a Qualified Settlement Fund (“QSF”). After
   deducting attorneys’ fees, costs, and other fees and expenses, the QSF will be distributed to all
   eligible Collective and Class Action members who submit a valid Claim Form (see Question 10).
   The Defendants have also agreed to clarify the information they provide to hosting families and
   au pairs regarding the weekly au pair stipend. In particular, the Defendants have agreed to take
   certain steps designed to notify au pairs and host families that the legal minimum weekly stipend
   is only a minimum and that au pairs and host families are allowed to agree to a higher weekly
   stipend.

   In exchange for the right to receive your share of the QSF, you will give up, or “release,” your
   claims against the Defendant that sponsored your J-1 visa and any other Defendant in this
   lawsuit. Those releases include any claims made or that could have been made arising from the
   facts alleged in this lawsuit. The releases are described in more detail in the Settlement
   Agreement and in Question 11 below. You can also view or download a copy of the Settlement
   Agreement, which contains more information on the releases, at www.wesbite.com.

   10. How will the Settlement funds be distributed?

   The precise amount each Class or Collective Action member will be paid depends on a number
   of factors such as (i) the number of au pairs who submit Claim Forms; (ii) when you were an au
   pair; (iii) where you were an au pair (which state); and (iv) whether you undertook
   uncompensated training in the United States.

   The total settlement amount is $65,500,000. It is anticipated that after legal fees and
   administrative costs are paid, the amount available to distribute to Class or Collective Action
   members will be approximately $40,000,000. Au pairs who have personally participated in the
   lawsuit will then receive participation bonuses: $5,000 to each of the eleven Class
   Representatives (who attended depositions, provided documents, and assisted Class Counsel in
   preparing the case); $1,000 to each Collective Action member who participated in a deposition;
   and $100 for every au pair who opted-in to the Collective Action. These bonuses will be on top
   of any recovery to which those au pairs may otherwise be entitled as Class Members.

   The remaining funds, which are anticipated to be approximately $39,500,000, will be distributed
   to au pairs who submit valid Claim Forms. You must submit a Claim Form to participate in
   the settlement.

   Funds are distributed based upon a formula approved by the Court that is intended to fairly
   compensate every class member based on the relative strength of their claim. The complete Plan
   of Allocation is available on the class webpage at www.website.com. Summarized briefly, Class
   Members who were au pairs in the period starting November 13, 2010, will receive the largest

   Questions? Visit www.website.com or Call 1-800-000-0000                             Page 7 of 12
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   recovery as a percentage of their total claim, followed by Class Members who undertook
   compulsory training in the United States, followed by Class Members who were au pairs prior to
   November 13, 2010, in Illinois, Michigan, New York, New Jersey, or Pennsylvania, followed by
   class members who were au pairs prior to November 13, 2010, in any other state.

   By way of example, if approximately 15,000 au pairs were to submit valid claims, each of those
   groups may expect recoveries of approximately the following size:

   Au Pairs For a Year Starting On or After $2,500
   November 13, 2010

   Au Pairs Who Undertook Compulsory Training in $90
   the United States For One Week                (in addition to recovery awarded for the au
                                                 pair placement)

   Au Pairs For a Year Ending Before November 13, $1,000
   2010, in Illinois, Michigan, New York, New
   Jersey, or Pennsylvania

   Au Pairs For a Year Ending Before November 13, $500
   2010, in Any Other State
   Other than the $65,500,000 total settlement amount, the figures provided in this answer are
   estimates and examples only. The actual figures may be higher or lower depending on the total
   number of claims received, and as determined by the Claims Administrator pursuant to the Plan
   of Allocation approved by the Court.

   11. How can I get money from the Settlement?

   To receive your share of the QSF, you must complete, sign, and return a Claim Form to the
   Claims Administrator. A Claim Form is attached to this Notice, and may also be obtained and
   submitted via the Claims Administrator’s website, www.website.com. Claim Forms may also
   be submitted by mail, to the Claims Administrator at: Beltran v. InterExchange, c/o JND Legal
   Administration, P.O. Box 91345, Seattle, WA 98111. Submitting a Claim Form is the only
   way to get paid from the Settlement. You must submit your Claim Form by Deadline.

   12. When will I get my Settlement payment?

   The Court will hold a Fairness Hearing on XX date at XX time a.m., to decide whether to
   approve the Settlement. If the Court approves the Settlement, there still may be appeals of that
   decision. If an appeal is filed, it is hard to estimate how long it might take for it to be resolved,
   but it can take a lot of time, perhaps more than a year. Settlement payments will be distributed if
   the Settlement is approved, and after any appeals are resolved.




   Questions? Visit www.website.com or Call 1-800-000-0000                                Page 8 of 12
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   Updates regarding the Settlement, including deadlines for the submission of Claim Forms, and
   the schedule for when payments may be made will be posted on the Claims Administrator’s
   website, www.website.com.

   13. Do I have to pay taxes on the money I receive from the Settlement?

   The Claims Administrator will work with you to determine what, if any, taxes are to be withheld
   or paid on any funds you receive from the Settlement. You should also feel free to consult your
   own tax professional for guidance. Class Counsel cannot provide you with any tax advice.

                              YOUR RIGHTS AND OPTIONS
   14. What are my options for participating in the Settlement?

   You have three [four] options: (1) submit a Claim Form by deadline; (2) object to the Settlement;
   [(3) exclude yourself from the Settlement;] or (3[4]) do nothing.

   15. What am I giving up if I submit a Claim Form?

   If you submit a valid Claim Form, you will release from liability the Defendants in this action,
   together with their respective parents, subsidiaries, officers, directors, employees, contractors,
   shareholders, attorneys, agents, representatives, insurers, host families, and affiliates, expressly,
   but without limitation, including recruiting affiliates named and unnamed in the course of this
   lawsuit for those Defendants who use the services of others to identify, recruit and/or screen au
   pair candidates (the “Released Parties”). That release will cover any and all causes of action,
   judgments, liens, indebtedness, costs, damages, penalties, expenses, obligations, attorneys' fees,
   losses, claims, liabilities and demands of whatever kind or character (each a “Claim”), known or
   unknown, arising on or before any judgment issues in this lawsuit, that are, were or could have
   been asserted against any of the Released Parties by reason of, arising out of, or in any way
   related to any of the facts, acts, events, transactions, occurrences, courses of conduct,
   representations, omissions, circumstances or other matters referenced in this lawsuit, whether
   any such Claim was or could have been asserted by you on your own behalf or on behalf of
   others. However, your release does not extend to claims or potential claims that you may possess
   against your host family or families if such claims are (i) unrelated to the Claims asserted in this
   lawsuit or (ii) unrelated to host family obligations under the federal Au Pair Program
   requirements, e.g., compensation, hours, education, or services required. This is only a summary
   of the release to which you will be bound; to review the full release, please visit the Claims
   Administrator’s website, www.website.com, where you can review the Settlement Agreement in
   full.

   16. What happens if I do nothing at all?

   If you do nothing, you will receive no payment from the Settlement, and you will release your
   claims against the Defendants, as summarized in Question 15. This is because by doing nothing,

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   you will continue to be a member of the Class Action, including any classes you are part of, and
   if the Court approves the Settlement, you will not be able to sue, or continue to sue, any
   Defendant about the legal claims that are the subject of this lawsuit. This also means that if you
   do nothing, you will be legally bound by the orders and judgments the Court issues in this case.

   [17. How do I exclude myself from the Settlement?

   Au pairs who were sponsored by Defendant AuPairCare, Inc. (from January 1, 2009 through
   October 28, 2018) and au pairs sponsored by any Defendant in 2017 and 2018 may still exclude
   themselves from the Class Action, and the Settlement.

   To ask to be excluded, you must send an “Exclusion Request” form to the Claims Administrator.
   You may do so by email, mail, or online, no later than Month 00, 0000. You may complete an
   Exclusion Request Form directly on the www.website.com website. You may also obtain an
   Exclusion Request form on the class website, www.wesbite.com and mail the form to Beltran v.
   Interexchange, P.O. Box 91345, Seattle, WA 98111 by date. Or you may exclude yourself by
   mailing a letter to the Claims Administrator stating that you want to be excluded from Beltran v.
   Interexchange. In the letter, be sure to include your name and address, and sign the letter and
   send it to: Beltran v. Interexchange, P.O. Box 91345, Seattle, WA 98111. If you submit your
   own letter, or use the Exclusion Request form, you must indicate which of the individual classes
   listed in Question XX you are excluding yourself from and postmark the letter by Date. You may
   ask to exclude yourself entirely, or from only some classes.

   If you choose to exclude yourself from the Class Action and Settlement, you will have no right to
   speak at the hearing about the Settlement or object to it, because the Settlement will no longer
   affect your rights.]

   17 [18]. How do I object to the Settlement?

   If you are a Class Member, you can comment on or object to the Settlement if you like or do not
   like any part of it. You can give reasons why you think the Court should or should not approve
   it. The Court will consider your views.

   To comment or to object, you must send a letter to the Claims Administrator with your
   comments or objections to the proposed Settlement. Be sure to include:

      •   Your name, address, telephone number, email address and signature;
      •   If you object to the Settlement, a detailed list of any other objections that you or your
          lawyer have made to any class action settlements submitted to any court in the United
          States in the previous five (5) years; and
      •   A detailed statement of your comments or objections, including: whether your objection
          applies only to you, to a subset of the Class, or the entire Class; the grounds for your
          objections; and supporting documents, if any.



   Questions? Visit www.website.com or Call 1-800-000-0000                             Page 10 of 12
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   If you object to the Settlement, you should still submit a Claim Form. If the Court approves
   the settlement, you will only participate in the proceeds if you have submitted a Claim Form.

   You do not need to attend or speak at the Fairness Hearing (described in Question 12) for your
   comments or objections to be considered. If you would like to speak at the Fairness Hearing,
   you must add to your letter a statement indicating such, for example, by stating “This is my
   Notice of Intention to Appear at the Fairness Hearing in Beltran v. Interexchange.”

   If you wish for the Court to consider your comments or objections, you must submit the
   comments or objections, along with a request to speak at the Fairness Hearing (if any),
   postmarked no later than Date (or received by the Claims Administrator by that date if sent by
   e-mail) to the following address:
                                     JND Legal Administration
                                           P.O. Box 91345
                                         Seattle, WA 98111
                                          info@email.com
   [19. What is the difference between objecting and excluding?

   Objecting is telling the Court that you don’t like something about the settlement. You can object
   only if you stay in the Class. Excluding yourself is telling the Court that you don’t want to be
   part of the Class. If you exclude yourself, you have no basis to object because the case no longer
   affects you.]

                       THE LAWYERS REPRESENTING YOU
   18 [20]. Who represents me in this case?

   The Court-appointed attorneys from Boies Schiller Flexner LLP, of New York, NY, and
   Towards Justice, of Denver, CO, represent the au pairs in the Class and Collective Actions.
   Together they are “Class Counsel.” More information about each law firm, their practices, and
   their lawyers is available at www.bsfllp.com and www.towardsjustice.org.

   19 [21]. Should I get my own lawyer?

   You do not need to hire your own lawyer because Class Counsel is working on your behalf. But,
   if you want your own lawyer, you are entitled to have one. However, it will be your
   responsibility to pay that lawyer. For example, you can ask him or her to appear in Court for you
   if you want someone other than Class Counsel to speak for you.

   20 [22]. How will the lawyers be paid?

   Class Counsel will ask the Court to approve at the Fairness Hearing payment from the QSF of
   out-of-pocket costs and expenses, which includes all the costs of litigating the lawsuit and
   administering the settlement. Class Counsel will also ask the Court to approve payment of

   Questions? Visit www.website.com or Call 1-800-000-0000                             Page 11 of 12
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   attorneys’ fees of 35% percent (or $22,925,000) of the QSF. These fees are intended to
   compensate Class Counsel for investigating the facts, litigating the case extensively over four
   years (including through any future appeals), and negotiating and administering the $65,500,000
   Settlement.
                                THE FAIRNESS HEARING
   21 [23]. When and where will the Court decide whether to approve the
   Settlement?

   The Court will hold a Fairness Hearing on DATE at TIME in Courtroom A602 at the United
   States District Court for the District of Colorado, Alfred A. Arraj United States Courthouse, 901
   19th Street, Denver, Colorado.

   At this hearing, the Court will consider the Settlement and determine whether it is fair,
   reasonable, and adequate. If there are written comments or objections, the Court will consider
   them. The Court will decide whether to allow people who have raised objections or comments to
   speak at the hearing. After the hearing, the Court will decide whether to approve the Settlement.
   We do not know how long this decision will take. Also, the Court may reschedule the Fairness
   Hearing or change any of the deadlines described in this Notice. Be sure to check the Claims
   Administrator’s website, www.website.com, for news of any such changes.

   22 [24]. Do I have to come to the Fairness Hearing?

   No. Class Counsel will be present at the Fairness Hearing to answer any questions the Court
   may have. You are welcome to come at your own expense. If you send comments or objections
   to the Settlement, you don’t have to come to Court to talk about it. As long as you mailed, faxed,
   or emailed your written comments or objections on time, the Court will consider them. You may
   also pay your own lawyer to attend, but it is not required.

                           GETTING MORE INFORMATION
   23 [25]. Are more details available?

   Yes. This Notice only summarizes the Settlement. More details about the Settlement are in the
   proposed Settlement Agreement itself, which you can view or print at www.website.com. There
   you will also find more information about the lawsuit, including a Claim Form, important Court
   decisions, and updates on the status of the Settlement. Also, if you are still not sure whether you
   are included in the Settlement, or have other questions about how the Settlement will be
   administered, you can call or write to the Claims Administrator: 1-800-000-0000,
   info@email.com.




   Questions? Visit www.website.com or Call 1-800-000-0000                             Page 12 of 12
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                        Exhibit 1
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                              AU PAIR CLASS & COLLECTIVE ACTION

                                     SETTLEMENT CLAIM FORM

       In order to receive your portion of the Settlement, you must complete this Claim Form. Please answer
the questions to the best of your knowledge and recollection. You do not need to submit any additional
documentation at this time. However, the Claims Administrator may reach out to you if they require any
additional information to process your claim.
       Please read the Notice of Proposed Settlement of Class and Collective Action, Fairness Hearing, and
Right to Appear (“Notice.”). The Notice was sent to you along with this Claim Form and is also available at
[www.website.com]. The Notice, and the Claims Administrator’s website, [www.website.com], contain more
information about your rights and options and may be useful to you in deciding whether to submit this Claim
Form.
        Completed Claim Forms must be sent to the Claims Administrator either by email as a PDF attachment
to [info@email.com] or by mail to:
                                         [Beltran v. InterExchange
                                       c/o JND Legal Administration
                                              P.O. Box 91345
                                            Seattle, WA 98111]
Claim Forms can also be submitted online at the class website, [www.website.com].

 YOUR CLAIM FORM MUST BE SUBMITTED ELECTRONICALLY OR POSTMARKED BY [DEADLINE]
      NOTE: This Claim Form has six pages. Please provide ALL of the information requested. If you do not
complete all sections of the form, your request may be rejected.

1. CONTACT INFORMATION


CURRENT FULL NAME (please print):

ADDRESS:



CITY:                                                  STATE/PROVINCE:

POSTAL CODE:                                           COUNTRY:

TELEPHONE NUMBER (with country code): + (                   )

EMAIL ADDRESS:

SOCIAL MEDIA CONTACT:

If your name has changed since you began working as an au pair, please also provide your former name(s):

ALTERNATIVE NAME(S) (please print):
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2. FIRST AU PAIR PLACEMENT

Select the sponsor for your host family placement family from the list below. If you had more than one host
family placement, select the sponsor for your first host family placement (check only one):

     20/20 Care Exchange, Inc., d/b/a The                    A.P.E.X. American Professional Exchange
      International Au Pair Exchange                           LLC, d/b/a ProAuPair
     Agent Au Pair                                           American Cultural Exchange LLC, d/b/a Go
                                                               Au Pair, and GoAuPair Operations, LLC
     American Institute for Foreign Study, d/b/a             APF Global Exchange NFP, d/b/a Aupair
      Au Pair in America                                       Foundation
     Au Pair International, Inc.                             AuPairCare Inc.

     Cultural Care, Inc., d/b/a Cultural Care Au             Cultural Homestay International
      Pair
     EurAuPair Intercultural Child Care                      Expert Group International Inc., d/b/a Expert
      Programs                                                 AuPair
     Great AuPair, LLC                                       InterExchange Inc.

     USAuPair, Inc.


       (i)     Please provide the dates for the first host family placement you had with the au pair sponsor you
               checked.

               START DATE:              (Day) ____   (Month) _____ (Year)____

               END DATE:                (Day) ____   (Month) _____ (Year)____

       (ii)    In what State did this placement take place? ____________________________________

       (iii)   Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                        Yes                  No


       (iv)    If you checked “No”, please tell us how much you were typically paid by your host family each
               week: $______


3. ADDITIONAL PLACEMENTS

      Complete this section only if you had more than one au pair placement (i.e., more than one host
      family). If you were re-matched to a host family other than your first, that counts as an additional au
      pair placement. If you extended your au pair placement with one host family, and were never placed
      with a second host family, you do not need to complete this section, but the dates you provided in
      question 2 should reflect the extension.

       (i)     Which agency from question 2 sponsored you for your second au pair placement?
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               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your second host family placement.

               START DATE:            (Day) ____     (Month) _____ (Year)____

               END DATE:              (Day) ____     (Month) _____ (Year)____

       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                       Yes                    No


       (v)     If you checked “No”, please tell us how much you were typically paid by your host family each
               week: $______
                                                     * * *
       (i)     Which agency from question 2 sponsored you for your third au pair placement?

               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your third host family placement.

               START DATE:            (Day) ____     (Month) _____ (Year)____

               END DATE:              (Day) ____     (Month) _____ (Year)____

       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                       Yes                    No


       (v)     If you checked “No”, please tell us how much you were typically paid by your host family each
               week: $______

                                                     * * *
Please use the attached placement form to list any additional placements.

4. CERTIFICATION

I certify that the information provided in this form is true and accurate to the best of my knowledge.

SIGNATURE:                                                                   DATE:



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                                 ADDITIONAL AU PAIR PLACEMENTS

Please use this form if you had more than three (3) au pair placements.


       (i)     Which agency from question 2 sponsored you for your fourth au pair placement?

               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your fourth host family placement.

               START DATE:            (Day) ____    (Month) _____ (Year)____

               END DATE:              (Day) ____    (Month) _____ (Year)____

       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                      Yes                    No


If you checked “No”, please tell us how much you were typically paid by your host family each week: $______


                                                    * * *

       (i)     Which agency from question 2 sponsored you for your fifth au pair placement?

               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your fifth host family placement.

               START DATE:            (Day) ____    (Month) _____ (Year)____

               END DATE:              (Day) ____    (Month) _____ (Year)____

       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                      Yes                    No


If you checked “No”, please tell us how much you were typically paid by your host family each week: $______


                                                    * * *

                                                        4
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       (i)     Which agency from question 2 sponsored you for your sixth au pair placement?

               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your sixth host family placement.

               START DATE:           (Day) ____     (Month) _____ (Year)____

               END DATE:             (Day) ____     (Month) _____ (Year)____

       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                      Yes                   No
If you checked “No”, please tell us how much you were typically paid by your host family each week: $______

                                                    * * *

       (i)     Which agency from question 2 sponsored you for your seventh au pair placement?

               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your seventh host family placement.

               START DATE:           (Day) ____     (Month) _____ (Year)____

               END DATE:             (Day) ____     (Month) _____ (Year)____

       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                      Yes                   No


If you checked “No”, please tell us how much you were typically paid by your host family each week: $______

                                                    * * *

       (i)     Which agency from question 2 sponsored you for your eighth au pair placement?

               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your eighth host family placement.

               START DATE:           (Day) ____     (Month) _____ (Year)____

               END DATE:             (Day) ____     (Month) _____ (Year)____
                                                       5
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       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                      Yes                   No


If you checked “No”, please tell us how much you were typically paid by your host family each week: $______

                                                    * * *

       (i)     Which agency from question 2 sponsored you for your ninth au pair placement?

               SPONSOR NAME: __________________________________________________

       (ii)    Please provide the dates for your ninth host family placement.

               START DATE:           (Day) ____    (Month) _____ (Year)____

               END DATE:             (Day) ____    (Month) _____ (Year)____

       (iii)   In what State did this placement take place? ____________________________________

       (iv)    Were you typically paid a stipend of $195 to $200 per week by your host family during this
               placement?

                                      Yes                   No


If you checked “No”, please tell us how much you were typically paid by your host family each week: $______




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                        Exhibit B
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Case No. 14-cv-03074-CMA-KMT

   JOHANA PAOLA BELTRAN,
   LUSAPHO HLATSHANENI,
   BEAUDETTE DEETLEFS,
   ALEXANDRA IVETTE GONZALEZ,
   JULIANE HARNING,
   NICOLE MAPLEDORAM,
   LAURA MEJIA JIMENEZ,
   SARAH CAROLINA AZUELA RASCON,
   CATHY CARAMELO,
   LINDA ELIZABETH,
   GABRIELA PEREZ REYES,
        and those similarly situated,

        Plaintiffs,
   v.

   INTEREXCHANGE, INC.,
   USAUPAIR, INC.,
   GREATAUPAIR, LLC,
   EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR,
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
   CULTURAL HOMESTAY INTERNATIONAL,
   CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR,
   AUPAIRCARE INC.,
   AU PAIR INTERNATIONAL, INC.,
   APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION,
   AMERICAN INSTITUTE FOR FOREIGN STUDY, INC. DBA AU PAIR IN AMERICA,
   ASSOCIATES IN CULTURAL EXCHANGE DBA GOAUPAIR,
   AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR,
   GOAUPAIR OPERATIONS, LLC, DBA GOAUPAIR,
   AGENT AU PAIR,
   A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR, and
   20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

        Defendants.


                  ORDER GRANTING PRELIMINARY APPROVAL OF
              PROPOSED CLASS AND COLLECTIVE ACTION SETTLEMENT




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          Having considered Plaintiffs’ Motion for Preliminary Approval of Class and

   Collective Action Settlement, this Court preliminarily approves the parties’ proposed

   settlement.

          The Court previously found that this matter meets the requirements for class

   certification under Federal Rule of Civil Procedure 23, and ordered that Class Members

   receive notice and an opportunity to exclude themselves from the class action. (Doc.

   ## 828, 1057.) The Court has also previously conditionally certified Fair Labor

   Standards Act (“FLSA”) classes as to certain Defendants, and ordered that au pairs

   sponsored by those Defendants be provided with notice and the opportunity to opt-in to

   the collective action. (Doc ## 525, 539, 569.)

          This Court now finds that it may preliminarily approve the parties’ proposed

   settlement, as it is fair, adequate, and reasonable, and because the parties reached

   their proposed agreement as a result of intensive, non-collusive, arm’s-length

   negotiations. See Jones v. Nuclear Pharmacy, Inc., 741 F.2d 322, 324 (10th Cir. 1984)

   (“In exercising its discretion, the trial court must approve a settlement if it is fair,

   reasonable and adequate.”).

          For the FLSA collective actions, it is necessary for the Court to finally certify the

   conditionally certified FLSA classes. See Thiessen v. GE Capital Corp., 267 F.3d 1095,

   1102-03 (10th Cir. 2001) (outlining two-stage FLSA certification process). At the time of

   the final settlement approval hearing, the Court will also review the settlement for

   fairness under the FLSA and for final certifications. See Lynn’s Food Stores, Inc. v.

   United States, 679 F.2d 1350, 1353 (11th Cir. 1982) (requiring court approval of FLSA

   settlement); Baker v. Vail Resorts Mgmt. Co., No. 13-cv-01649-PAB-CBS, 2014 WL

   700096, at *1 (D. Colo. Feb. 24, 2014) (same). To that end, the Court orders that the
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   Plaintiffs will move for final certification of the FLSA classes together with their motion

   for final approval of the settlement.

          This Court will hold a final hearing on the settlement (the “Fairness Hearing”) on

   __________ ___, 2019, at _____, at the United States District Court for the District of

   Colorado, Alfred A. Arraj Courthouse, 901 19th Street, Denver, CO 80294, to determine

   whether this Court should finally approve the parties’ proposed settlement, and to

   resolve all related matters.

          Attendance by FLSA opt-in plaintiffs and Class Members at the Fairness Hearing

   is not necessary. They need not appear at the hearing or take any other action to

   indicate their approval of the proposed settlement. Class Members wishing to be heard

   are, however, required to appear at the Fairness Hearing or to submit an objection in

   accordance with the Settlement Notice described below. The Fairness Hearing may be

   postponed, adjourned, transferred, or continued without further notice to the Class

   Members.

          Submissions by the parties, including memoranda in support of the proposed

   settlement, responses to any objections, petitions for attorney’s fees and reimbursement

   of costs and expenses by Class Counsel, shall be filed with the Court no later than 21

   days prior to the Fairness Hearing, i.e., no later than _____________. If reply papers

   are necessary, they are to be filed no later than seven (7) days prior to the Fairness

   Hearing.

          This Court approves, as to form and content, the Notice of Proposed Settlement

   of Class and Collective Action, Fairness Hearing, and Right to Appear (“Settlement

   Notice”). The Court also approves JND Legal Administration as the Claims

   Administrator.
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          This Court finds that the proposed Settlement Notice, as reflected in the parties’

   Settlement Agreement and exhibits thereto, meets the requirements of due process

   under the Constitution and Federal Rule of Civil Procedure 23(e), that it is the best

   practicable notice under the circumstances, and that it constitutes due and sufficient

   notice to all persons entitled to notice of the class action settlement.

          This Court finds that the proposed Settlement Notice is adequate and will give all

   Class Members sufficient information to enable them to make informed decisions as to

   the parties’ proposed settlement, and the right to object to, or opt-out of it (where

   applicable). See DeJulius v. New England Health Care Employees Pension Fund, 429

   F.3d 935, 944 (10th Cir. 2005) (“[O]ur precedent focuses upon whether the district court

   gave ‘the best notice practicable under the circumstances including individual notice to

   all members who can be identified through reasonable effort.’”) (quoting In re Integra

   Realty Res., Inc., 262 F.3d 1089, 1110 (10th Cir. 2001)).

          The Court therefore orders that notice be disseminated by mail, e-mail, or text

   message depending on what contact information is available for each au pair. The

   parties may agree on the language for any short-form e-mail or text message notice, so

   long as the communication directs the Class Members to where they can find the full

   Settlement Notice and, in the case of e-mail, attaches the full Settlement Notice.

          In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d),

   1453, and 1711-1715 (“CAFA”), the Claims Administrator will serve the Settlement

   Notice and any other documents required by the CAFA, on the United States Attorney

   General and the Attorney Generals for the States where Class Members reside, unless

   such service is already completed at the time this order is issued.



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         Any Class or Collective Action Member who wishes to participate in the

   settlement must submit a valid claim form to the Claims Administrator no more than

   ninety days after the Settlement Notice is sent.

         Any Class Member who is eligible for exclusion because they were sponsored by

   Defendant AuPairCare, Inc. (from January 1, 2009 through October 28, 2018) or by any

   Defendant in 2017 and 2018, and who wishes to be excluded from the class action

   settlement must do so no more than ninety days after the Settlement Notice is sent.

   To be excluded, a Class Member must return the Exclusion Request Form (attached to

   the Settlement Notice) or otherwise submit a written request to the Claims

   Administrator, which includes his or her:

                a. Full name;

                b. Address;

                c. Telephone number; and

                d. A statement indicating that he or she wishes to be excluded from the

                class action settlement.

   Any Class Member who is eligible for exclusion and submits a valid and timely request

   for exclusion will neither be bound by the terms of the Settlement Agreement, nor

   receive any of the benefits of the Settlement Agreement.

         Any Class Member who wishes to comment on or object to the proposed

   settlement must mail or e-mail a written notice of objection to the Claims Administrator,

   postmarked no more than ninety days after the Settlement Notice is sent. The

   objection should include the Class Member’s name, address, telephone number, e-mail

   address and signature; a detailed list of any other objections that the Class Member or

   his or her lawyer has made to any class action settlements submitted to any court in the
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   United States in the previous five (5) years; a detailed statement of the Class Member’s

   comments or objections, including: whether the objection applies only to the individual

   Class Member, to a subset of the Class, or the entire Class; the grounds for the

   objections; and supporting documents, if any. Plaintiffs will be responsible for promptly

   filing and serving on all parties any objections or comments received with the Court.

   Class Members who do not submit a valid and timely objection will be barred from

   seeking review of the proposed class action settlement by appeal, or otherwise (to the

   extent that such review would otherwise be permitted).

          This order should not be construed as, or deemed to be, evidence of a

   presumption, implication, concession, or admission by any Defendant concerning

   (1) any alleged liability, fault, or wrongdoing; or (2) the appropriateness of any measure

   of alleged loss or damages.

          If the parties’ Settlement Agreement is terminated pursuant to its terms, or if this

   Court does not finally approve the parties’ proposed settlement, Plaintiffs and

   Defendants will be returned to the position they were in prior to execution of their

   Settlement Agreement, with the same status quo rights and interests as they had prior

   to execution their Settlement Agreement.

          The Court retains continuing and exclusive jurisdiction over the action to consider

   all further matters arising out of or connected with the settlement, including the

   administration and enforcement of the Settlement Agreement.

          The Court sets the following schedule:

                      Event                                           Date
   Settlement Notice Sent                         [within 7 days of Preliminary Approval
                                                  Order entry]
   Deadline to Submit Claim Form                  [90 days after Settlement Notice Sent]
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   Deadline to Submit Exclusion Form         [90 days after Settlement Notice Sent]
   Deadline to Submit Comments or            [90 days after Settlement Notice Sent]
   Objections
   Motion for Final Approval and             [21 days before Fairness hearing]
   Attorneys’ Fees
   Responses to Comments or Objections       [21 days before Fairness hearing]
   Replies to Motions/Responses (if any)     [7 days before Fairness hearing]
   Fairness Hearing                          [at least 120 days after Settlement Notice
                                             Sent]


   Dated: January __, 2019
                                                 BY THE COURT:



                                                 ____________________________
                                                 Hon. Christine M. Arguello
                                                 United States District Judge




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                        Exhibit C
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Case No. 14-cv-03074-CMA-KMT

   JOHANA PAOLA BELTRAN,
   LUSAPHO HLATSHANENI,
   BEAUDETTE DEETLEFS,
   ALEXANDRA IVETTE GONZALEZ,
   JULIANE HARNING,
   NICOLE MAPLEDORAM,
   LAURA MEJIA JIMENEZ,
   SARAH CAROLINA AZUELA RASCON,
   CATHY CARAMELO,
   LINDA ELIZABETH,
   GABRIELA PEREZ REYES,
        and those similarly situated,

        Plaintiffs,
   v.

   INTEREXCHANGE, INC.,
   USAUPAIR, INC.,
   GREATAUPAIR, LLC,
   EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR,
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
   CULTURAL HOMESTAY INTERNATIONAL,
   CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR,
   AUPAIRCARE INC.,
   AU PAIR INTERNATIONAL, INC.,
   APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION,
   AMERICAN INSTITUTE FOR FOREIGN STUDY, INC. DBA AU PAIR IN AMERICA,
   ASSOCIATES IN CULTURAL EXCHANGE DBA GO AU PAIR,
   AMERICAN CULTURAL EXCHANGE, LLC, DBA GO AU PAIR,
   GO AU PAIR OPERATIONS, LLC, DBA GO AU PAIR,
   AGENT AU PAIR,
   A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR, and
   20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

        Defendants.


                           FINAL ORDER AND JUDGMENT
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            On _______________, the parties reached a settlement agreement as a result of

   intensive, non-collusive, arm’s-length negotiations.

            On _______________, Plaintiffs filed a Motion for Preliminary Approval of Class

   and Collective Action Settlement.

            On _______________, the Claims Administrator served the Class Action

   Fairness Act (“CAFA”) notice required by 28 U.S.C. § 1715.

            On ________________, this Court granted Plaintiffs’ Motion for Preliminary

   Approval of Class and Collective Action Settlement.

            On _________________, the Claims Administrator sent the Notice of Proposed

   Settlement of Class and Collective Action, Fairness Hearing, and Right to Appear

   (“Settlement Notice”), as ordered.

            On _______________, Plaintiffs filed their motion(s) for final approval, final

   certification of FLSA collective actions, and for attorneys’ fees.

            On ________________, this Court held a fairness hearing regarding the parties’

   class and collective action settlement.

            1.     Having considered Plaintiff’s motion, this Court finally approves the class

   and collective action settlement. This Court also finally certifies the FLSA classes that

   were conditionally certified in this action. (See Doc. ## 525, 539, 569.)

            2.     Any term with initial capitalization that is not defined in this Order and Final

   Judgment shall have the meaning provided in the Settlement Agreement.

            3.     The Court confirms that it has jurisdiction over this matter and the parties

   to it.

            4.     This Court approves the terms of the Settlement Agreement, and the Plan

   of Allocation, the material terms of which include, but are not limited to:
                                                   2
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              a. Class Counsel will establish a Qualified Settlement Fund (“QSF”);

              b. Defendants will pay their respective shares of the settlement amount,

                 which totals $65,500,000, into the QSF;

              c. Within thirty (30) days after the Effective Date, and going forward,

                 Defendants (and their agents, where applicable) will provide a

                 statement to host families and au pairs to the effect that the weekly au

                 pair stipend is a minimum payment requirement and host families and

                 au pairs are free to agree to compensation higher than the legally

                 applicable minimum.

              d. From the QSF, Class Counsel will receive attorneys’ fees of

                 $____________, representing __% of the QSF; each of the eleven

                 class representatives will receive a service award of $5,000; each of

                 the FLSA deponents will receive a service award of $1,000 (unless

                 they are a class representative); and each FLSA opt-in plaintiff will

                 receive $100 (unless they were deposed). The awards to class

                 representatives, FLSA deponents, and FLSA opt-ins shall be in

                 addition to any funds they receive as members of the Rule 23 Class

                 Action;

              e. Class Counsel’s litigation expenses, as well as Expenses for

                 administration of the settlement and sending of notice pursuant to 28

                 U.S.C. § 1715 will be deducted from the QSF;

              f. The remainder of the QSF will be distributed to Class Members, as

                 detailed in the Plan of Allocation;



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                 g. Class Members who did not exclude themselves are bound by the

                     terms of the Settlement Agreement, including all releases therein, and

                     their claims are dismissed with prejudice.

          5.     This Court additionally finds that the Settlement Notice, and the

   distribution thereof, satisfied the requirements of due process under the Constitution

   and Federal Rule of Civil Procedure 23(e), that it was the best practicable under the

   circumstances, and that it constitutes due and sufficient notice to all persons entitled to

   notice of class action settlement. See DeJulius v. New England Health Care

   Employees Pension Fund, 429 F.3d 935, 944 (10th Cir. 2005).

          6.     This Court similarly finds that the Settlement Notice was adequate and

   gave all Settlement Class Members sufficient information to enable them to make

   informed decisions as to the parties’ proposed settlement, and the right to object to, or

   opt-out of it (where applicable).

          7.     This Court additionally finds that the parties’ settlement, on the terms and

   conditions set forth in their Settlement Agreement, is in all respects fundamentally fair,

   reasonable, adequate, and in the best interests of the Settlement Class Members. See

   Fed. R. Civ. P. 23(e); Jones v. Nuclear Pharmacy, Inc., 741 F.2d 322, 324 (10th Cir.

   1984) (“In assessing whether the settlement is fair, reasonable and adequate the trial

   court should consider: (1) whether the proposed settlement was fairly and honestly

   negotiated; (2) whether serious questions of law and fact exist, placing the ultimate

   outcome of the litigation in doubt; (3) whether the value of an immediate recovery

   outweighs the mere possibility of future relief after protracted and expensive litigation;

   and (4) the judgment of the parties that the settlement is fair and reasonable.”).

   Moreover, this standard substantially overlaps with the standard that courts apply in
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   deciding whether to approve settlements under the Fair Labor Standards Act, 29 U.S.C.

   §§ 201, et seq. (“FLSA”). See Pliego v. Los Arcos Mexican Restaurants, Inc., 313

   F.R.D. 117, 128 (D. Colo. 2016). As such, the Court also finds that the parties’

   settlement is fair and reasonable under the FLSA.

         8.      This Court further finds that the Settlement Class Members were given a

   fair and reasonable opportunity to object to the settlement. [__#] of Settlement Class

   Members objected to the settlement. And the class members who made valid and

   timely requests for exclusion are excluded from the class and settlement and are not

   bound by this order. There are [__#] such persons, and they are listed on attached

   Exhibit A, along with the Defendant(s) that sponsored their J-1 visa(s).

         9.      This Order is binding on all Settlement Class Members, except those

   individuals who validly and timely excluded themselves from the class or from the

   settlement.

         10.     This action is dismissed with prejudice as to all other issues and as to all

   parties and claims.

         11.     Effective upon the Effective Date, Released Parties, as defined in the next

   sentence, shall be released and forever discharged by all Settlement Class Members

   (the “Releasing Parties”) from any and all causes of action, judgments, liens,

   indebtedness, costs, damages, penalties, expenses, obligations, attorneys’ fees, losses,

   claims, liabilities and demands of whatever kind or character (each a “Claim”), known or

   unknown, arising on or before the Effective Date, that are, were or could have been

   asserted against any of the Released Parties by reason of, arising out of, or in any way

   related to any of the facts, acts, events, transactions, occurrences, courses of conduct,

   representations, omissions, circumstances or other matters referenced in the Litigation,
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   whether any such Claim was or could have been asserted by any Releasing Party on

   her or his own behalf or on behalf of other Persons. Released Parties means the

   Defendants in this action, together with their respective parents, subsidiaries, officers,

   directors, employees, contractors, shareholders, attorneys, agents, representatives,

   insurers, host families, and affiliates, expressly, but without limitation, including

   recruiting affiliates named and unnamed in the course of this Litigation for those

   Defendants who use the services of others to identify, recruit and/or screen au pair

   candidates. Notwithstanding the foregoing, this Release shall not extend to claims or

   potential claims that any au pair may possess against her or his host family or families if

   such claims are (i) unrelated to the Claims asserted in the Litigation or (ii) unrelated to

   host family obligations under the federal Au Pair Program requirements, e.g.,

   compensation, hours, education, or services required.

          12.    Except as set forth in the Settlement Agreement, this Order and Final

   Judgment and the Settlement Agreement shall not be offered or received against the

   Parties or Released Parties and their counsel for any purpose, and in particular:

                 a. do not constitute, and shall not be offered or received against any

                     Parties or Released Parties as evidence of, or construed as, or

                     deemed to be evidence of any presumption, concession, or admission

                     by Released Parties with respect to the truth of any fact alleged by

                     Plaintiffs or any other Settlement Class Member or the validity of any

                     Claim that has been or could have been asserted in the Litigation,

                     including but not limited to the Released Claims, or of any liability,

                     damages, negligence, fault, or wrongdoing of the Released Parties;



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                  b. do not constitute, and shall not be offered or received against any

                     Parties or Released Parties as evidence of a presumption,

                     concession, or admission of any fault, misstatement, or omission with

                     respect to any statement or written document approved or made by

                     Released Parties, or against the Plaintiffs, or any other Settlement

                     Class Member as evidence of any infirmity in the Claims or defenses

                     that have been or could have been asserted in the Litigation;

                  c. do not constitute, and shall not be offered or received against any

                     Parties or Released Parties, as evidence of a presumption,

                     concession, or admission with respect to any liability, damages,

                     negligence, fault, infirmity, or wrongdoing, or in any way referred to

                     for any other reason against Released Parties, in any other civil,

                     criminal, or administrative action or proceeding, other than such

                     proceedings as may be necessary to effectuate the provisions of this

                     Agreement; and

                  d. do not constitute, and shall not be construed against any Parties or

                     Released Parties, as an admission or concession that the

                     consideration to be given hereunder represents the amount which

                     could be or would have been recovered after trial.

            13.   This Court retains continuing and exclusive jurisdiction over the parties

   and all matters relating this matter, including the administration, interpretation,

   construction, effectuation, enforcement, and consummation of the settlement and this

   Order.



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   Dated: _________________, 2019

                                          BY THE COURT:



                                          ____________________________
                                          Hon. Christine M. Arguello
                                          United States District Judge




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